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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG             §   MDL NO. 2179
“DEEPWATER HORIZON” IN THE GULF OF          §
MEXICO, ON APRIL 20, 2010                   §   SECTION J
                                            §
This Document Relates To:                   §
All cases, 2-10-cv-2771 and 2:10-cv-04536   §   JUDGE BARBIER
                                            §
                                            §   MAGISTRATE JUDGE SHUSHAN
                                            §




                    MEMORANDUM IN SUPPORT OF
       TRANSOCEAN’S MOTION FOR PARTIAL SUMMARY JUDGMENT
  AGAINST BP TO ENFORCE BP’S CONTRACTUAL OBLIGATIONS, INCLUDING
      BP’S OBLIGATION TO DEFEND, INDEMNIFY AND HOLD TRANSOCEAN
                  HARMLESS AGAINST POLLUTION CLAIMS




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App. A-5: RIG New York Stock Quote – Transocean Ltd/Switzerland – Bloomberg,
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App. A-6: Letter Dated May 10, 2010, from Keith McDole (Transocean counsel) to Richard
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App. A-7: Letter Dated June 25, 2010, from Richard Godfrey (counsel for BP) to Keith McDole
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App. A-8: Letter Dated July 9, 2010, from Kirk Wardlaw (BP) to Jim Bryan and Robert Reeves
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App. A-43: Letter Dated February 25, 2011, from Bob Talbott (BP, Chief Procurement Officer,
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App. B-12: Dep. Steven Flynn (BP, Vice President of Health, Safety, Security and Environment)
June 29, 2011.

App. B-13: Dep. Cheryl Grounds (BP, Chief Engineer of Process and Process Safety) May 4,
2011.

App. B-14: Dep. John Guide (BP, Drilling Engineer Team Leader, Angola / former Wells Team
Leader) May 9-10, 2011.

App. B-15: Dep. Anthony Hayward (BP, Chief Executive Officer) June 6 and 8, 2011.

App. B-16: Dep. Curtis Jackson (BP, former Director of Health, Safety, Security and
Environment, Gulf of Mexico) July 21, 2011.

App. B-17: Dep. Kevin Lacy (BP, former Vice President of Drilling and Completions, Gulf of
Mexico) June 1-2, 2011.

App. B-18: Dep. Lee Lambert (BP, Well Site Leader / former Well Site Leader of the Future)
May 9-10, 2011.

App. B-19: Dep. Philip Earl Lee (BP, Well Site Leader) June 1-2, 2011.

App. B-20: Dep. Ian Little (BP, Vice President of Wells, North Africa / former Wells Manager
for Exploration and Appraisal Drilling, Gulf of Mexico) June 9-10, 2011.

App. B-21: Dep. John Mogford (BP, former Executive Vice President of Safety Operations) June
28-29, 2011.

App. B-22: Dep. Patrick O’Bryan (BP, Vice President of Wells, BP America / former Vice
President of Drilling and Completions, Gulf of Mexico Deepwater) July 14-15, 2011.

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App. B-23: Dep. Vincent Price (BP, Well Site Leader / former Well Site Leader of the Future)
June 20, 2011.

App. B-24: Dep. David Rich (BP, Wells Manager, Gulf of Mexico Deepwater) June 1-2, 2011.

App. B-25: Dep. Angel Rodriguez (BP, Marine Advisor) July 29, 2011.

App. B-26: Dep. Murry Sepulvado (BP, former Well Site Leader) May 11-12, 2011.

App. B-27: Dep. Ronald Sepulvado (BP, former Well Site Leader) Mar. 10-11, 2011.

App. B-28: Dep. John Shaughnessy (BP, former Well Control Technical Authority, Gulf of
Mexico) Sep. 27, 2011.

App. B-29: Dep. David Sims (BP, Operations Manager, Gulf of Mexico Deepwater) Apr. 6-7,
2011.

App. B-30: Dep. Cynthia Skelton (BP, Vice President of Safety and Operational Risk, Gulf of
Mexico / former Vice President of Health, Safety, Security and Environment and Engineering,
Gulf of Mexico) May 25-26, 2011.

App. B-31: Dep. Jonathan Sprague (BP, Vice President of Organizational Capability for Global
Wells Organization / former Drilling Engineering Manager, Gulf of Mexico) Mar. 21-22, 2011.

App. B-32: Dep. Doug Suttles (BP, former Chief Operating Officer) May 19-20, 2011.

App. B-33: Dep. Henry Thierens (BP, former Vice President of Drilling and Completions
Operations) June 9-10, 2011.

App. B-34: Dep. Jay Torseth (BP, Vice President of Exploration and Appraisal, Angola / former
Exploration Manager, Gulf of Mexico Deepwater) Sept. 20, 2011.

App. B-35: Dep. David Wall (BP, Vice President of Risk, Learning, Health and Safety / former
Vice President of Health, Safety, Security and Environment and Integrity Management for
Upstream) June 27, 2011.

App. B-36: Dep. O. Kirk Wardlaw (BP, Senior Negotiator for the Western Hemisphere / former
Chief Land Negotiator, Gulf of Mexico) June 9, 2011.

App. B-37: Dep. Norman Wong (BP, Manager of Rig Audit Group) June 13-14, 2011.

App. B-38: Dep. Barbara Lowery-Yilmaz (BP, former Technical Vice President of Drilling and
Completions) July 26, 2011.




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App. B-39: Dep. Paul Anderson (Halliburton, Service Supervisor III, Gulf of Mexico) Apr. 27-
28, 2011.

App. B-40: Dep. James Bement (Halliburton, Vice President of Sperry Drilling) Sept. 20, 2011.

App. B-41: Dep. Ronald Faul (Halliburton, Technology Manager, Gulf of Mexico Region,
Cementing) June 29-30, 2011.

App. B-42: Dep. Kelly Gray (Halliburton, Senior Surface Data Logging Field Specialist /
INSITE Specialist) Apr. 14-15, 2011.

App. B-43: Dep. Joseph Keith (Halliburton, Mud Logger) Mar. 28, 2011.

App. B-44: Dep. Kurt Kronenberger (Halliburton, Operations Leader / Service Coordinator for
the Sperry SDL Product Service Line) Aug. 2, 2011.

App. B-45: Dep. James Prestidge (Halliburton, Vice President of Health, Safety and
Environment and Service Quality) Sept. 21, 2011.

App. B-46: Dep. Thomas Roth (Halliburton, Vice President of Cementing Product/Services
Line) July 25-26, 2011.

App. B-47: Dep. Michael Serio (Halliburton, Lead Technical Professional) Apr. 28-29, 2011.

App. B-48: Dep. Vincent Tabler (Halliburton, Cementer—Service Supervisor Three) June 13-14,
2011.

App. B-49: Dep. Richard Vargo (Halliburton, Cementing Regional Manager, Gulf of Mexico)
Mar. 30, 2011.

App. B-50: Dep. Bryan Domangue (MMS / BOEMRE, District Manager, Houma) Sept. 21,
2011.

App. B-51: Dep. Eric Neal (MMS / BOEMRE, Production Inspector) July 21, 2011.

App. B-52: Dep. Robert Neal (MMS / BOEMRE, Drilling Rig Inspector) July 19, 2011.

App. B-53: Dep. Frank Patton (MMS / BOEMRE, Drilling Engineer, New Orleans) July 13-14,
2011.

App. B-54: Dep. Michael Saucier (MMS / BOEMRE, Deputy Regional Supervisor for Field
Operations, New Orleans) July 27-28, 2011.

App. B-55: Dep. David Trocquet (MMS / BOEMRE, District Manager, New Orleans) Sept. 23,
2011.


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App. B-56: Dep. Michael Odom (U.S. Coast Guard, Chief of Inspections Division, Delaware
Bay, Philadelphia, PA / former Chief of Prevention, Marine Safety Unit, Port Arthur, TX) Oct.
11, 2011.

App. B-57: Dep. William Haynie (American Bureau of Shipping, Principal Surveyor) June 27,
2011.

App. B-58: Dep. David McKay (Det Norske Veritas, Regional Chief Surveyor for MODUs,
North America Region) May, 11, 2011.

App. B-59: Dep. Victor Martinez (ModuSpec, Subsea Surveyor) Apr. 14, 2011.

App. B-60: Dep. Kristofer Millsap (ModuSpec, Well Control Equipment Surveyor) May 12-13,
2011.

App. B-61: Dep. Alan Schneider (ModuSpec, Surveyor) June 23, 2011.

App. B-62: Dep. Peter Sierdsma (ModuSpec, President) Feb. 2 and 16, 2011.

App. B-63: Dep. Paul Chandler (Anadarko, Project Geologist Advisor) May 4, 2011.

App. B-64: Dep. Dawn Peyton (Anadarko, Senior Reservoir Engineer) Sept. 8, 2011.

App. B-65: Dep. Robert Quitzau (Argonauta, Drilling Engineer) May 25-26, 2011.

App. B-66: Dep. William LeNormand (Cameron, Senior Field Service Technician) June 20-21,
2011.

App. B-67: Dep. Steven Johnson (M-I Swaco, Drilling Fluids Specialist) Sept. 27, 2011.

App. B-68: Dep. Leo Lindner (M-I Swaco, Mud Engineer / Drilling Fluid Specialist) Sept. 14-
15, 2011.

App. B-69: Dep. Gregory Meche (M-I Swaco, Compliance Specialist) Oct. 6, 2011.

App. B-70: Dep. Stuart Lacy (QO, Inc., Well Site Geologist) Sept. 23, 2011.

App. B-71: Dep. Katharine Paine (Quadril Energy, Pore Pressure Analyst) Apr. 18-19, 2011.

App. B-72: Dep. Victor Emanuel (Schlumberger, former Deepwater Coordinator, Gulf of
Mexico) Sept. 27, 2011.

App. B-73: Dep. Douglas Martin (SMIT Salvage, Chief Executive Officer) Sept. 14, 2011.

App. B-74: Dep. Ross Skidmore (Swift, Subsea Well Supervisor) May 18, 2011.


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App. B-75: Dep. Bryan Clawson (Weatherford, Technical Sales Representative) June 6-7, 2011.

App. B-76: Dep. Bill Ambrose (Transocean, Managing Director, North America Division) July
18-19, 2011.

App. B-77: Dep. Craig Breland (Transocean, Crane Operator) May 18, 2011.

App. B-78: Dep. Douglas Brown (Transocean, Second Engineer) May 3, 2011.

App. B-79: Dep. Micah Burgess (Transocean, Driller) Apr. 20, 2011.

App. B-80: Dep. Gerald Canducci (Transocean, Quality, Health, Safety and Environment
Manager, North America) Mar. 23-24, 2011.

App. B-81: Dep. Randy Ezell (Transocean, Senior Toolpusher) Apr. 27-28, 2011.

App. B-82: Dep. Daniel Farr (Transocean, Director of Special Projects / Lead of Transocean
Macondo Investigation) Aug. 24-25, 2011.

App. B-83: Dep. David Hackney (Transocean, Master) July 25, 2011.

App. B-84: Dep. Troy Hadaway (Transocean, Rig Safety Training Coordinator) July 12, 2011.

App. B-85: Dep. Derek Hart (Transocean, Manager of Quality, Health, Safety and Environment,
North Sea / Transocean Macondo Investigation Team Lead, Gas Dispersion and Evacuation)
Oct. 7, 2011.

App. B-86: Dep. Mark Hay (Transocean, Senior Subsea Supervisor) June 29-30, 2011.

App. B-87: Dep. Caleb Holloway (Transocean, Floorhand) May 19, 2011.

App. B-88: Dep. Dustin Johnson (Transocean, Roustabout) July 27, 2011.

App. B-89: Dep. Paul Johnson (Transocean, Operations Manager) Mar. 28-29, 2011.

App. B-90: Dep. Jonathan Keeton (Transocean, Rig Manager) Aug. 17-18, 2011.

App. B-91: Dep. James Kent (Transocean, Rig Manager Asset) June 21-22, 2011.

App. B-92: Dep. Yancy Keplinger (Transocean, Senior Dynamic Positioning Officer) Sept. 12,
2001.

App. B-93: Dep. James Mansfield (Transocean, First Assistant Engineer) May 12, 2011.

App. B-94: Dep. John MacDonald (Transocean, Manager, AMU Marine Operations /
Transocean Macondo Investigation Team) Sept. 30, 2011.

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App. B-95: Dep. Paul Meinhart (Transocean, Motorman) July 28, 2011.

App. B-96: Dep. Jimmy Moore (Transocean, former Director of Quality, Health, Safety and
Environment) Oct. 4, 2011.

App. B-97: Dep. Steven Newman (Transocean, Chief Executive Officer & President) Sept. 30,
2011.

App. B-98: Dep. Jay Odenwald (Transocean, Subsea Supervisor) July 27, 2011.

App. B-99: Dep. Christopher Pleasant (Transocean, Subsea Supervisor) Mar. 14-15, 2011.

App. B-100: Dep. Adrian Rose (Transocean, Director of Quality, Health, Safety and
Environment) Apr. 25-26, 2011.

App. B-101: Dep. Stuart Sannan (Transocean, General Manager, North America) July 27-28,
2011.

App. B-102: Dep. Pharr Smith (Transocean, former Vice President of Engineering and Technical
Support) June 27-28, 2011.

App. B-103: Dep. Carl Taylor (Transocean, former Radio Operator) July 14, 2011.

App. B-104: Dep. Robert Tiano (Transocean, Maintenance Supervisor / Transocean Macondo
Investigation Team) Aug. 25, 2011.

App. B-105: Buddy Trahan (Transocean, Division Manager Asset) Sept. 28, 2011.

App. B-106: Nick Watson (Transocean, Roustabout) July 14, 2011.

App. B-107: Michael Williams (Transocean, Chief Electronics Technician) July 20, 2011.

App. B-108: Daun Winslow (Transocean, Operations Manager) Apr. 20-21, 2011.

App. B-109: David Young (Transocean, Chief Mate) Sept. 22, 2011.

App. B-110: Dep. Greg Walz (BP, Drilling Engineer Team Leader) Apr. 21-22, 2011.

App. B-111: Dep. Skip Clark (Halliburton / Sperry Sun, former Senior Account Representative)
July 29, 2011.

App. B-112: Chart Summarizing Favorable Testimony Regarding the Deepwater Horizon and
Her Crew.




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                       Appendix C: Documents Supporting Testimony

App. C-1: Annual Individual Performance Assessment of Brett Cocales, BP-HZN-
2179MDL00470609–0613.

App. C-2: Email from Angel Rodriguez to John Guide, Brett Cocales, et al., RE: Deepwater
Horizon’s Rig Audit close out report status, Mar. 30, 2010, BP-HZN-2179MDL00006057.

App. C-3: Email from Angel Rodriguez to Paul Johnson, John Guide and Brett Cocales, RE:
Audits Reviewed and Updated, Feb. 22, 2010, BP-HZN-2179MDL0002012–2013.

App. C-4: Email thread among Keith Daigle, Maniram Sankar and George Gray, RE: Marianas
WSL, May 28, 2008, BP-HZN-2179MDL02486517–6519.

App. C-5: Email from Tim Burns to Rory Mcneil, James Reed, Murry Sepulvado, Ronald
Sepulvado, Deepwater Horizon Foreman, et al., RE: Tiber Performance, June 19, 2009, BP-
HZN-2179MDL01309142.

App. C-6: Horizon Rig Contract Extension, approved Apr. 6, 2004, BP-HZN-
2179MDL02378626–8627.

App. C-7: Email thread among Andy Inglis, David Eyton and Bob Smith, RE: GoM Rig Papers,
Mar. 20, 2005, BP-HZN-2179MDL02368314–8315.

App. C-8: GoM: Deepwater Horizon Drilling Rig Commitment, dated Mar. 25, 2005, BP-HZN-
2179MDL023483–3846.

App. C-9: Email thread among Harry Thierens, Jay Thorseth, David Sims, Ian Little and David
Rainey, RE: Good work, Nov. 1, 2007, BP-HZN-MBI00040725.

App. C-10: Allegations, BP-HZN-2179MDL03085148–5155.

App. C-11: Email thread between David Sims and Ian Little, RE: Updated on TO Performance,
July 17, 2007, BP-HZN-MBI00037507–7508.

App. C-12: Email thread among Callan Brown, Michael Odom and Jay Williamson, RE:
Deepwater Horizon Investigation, HCG161-041962.

                Appendix D: Cases, Statutes / Rules, and Additional Sources

Cases
App. D-2: Fidelity & Deposit Co. of Md. v. Conner, 973 F.2d 1236 (5th Cir. 1992).

App. D-4: Little v. Liquid Air Corp., 37 F.3d 1069 (5th Cir. 1994).

App. D-5: Strachan Shipping Co. v. Dresser Indus., Inc., 701 F.2d 483 (5th Cir. 1983).

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App. D-6: Becker v. Tidewater, Inc., 586 F.3d 358 (5th Cir. 2009).

App. D-9: Boykin v. China Steel Corp., 73 F.3d 539 (4th Cir. 1996).

App. D-10: Cargill Ferrous Int’l Div., etc. v. M/V Princess Margherita, 2001 WL 1426678 (E.D.
La. Nov. 13, 2001).

App. D-11: Mayer v. Cornell Univ., 1995 WL 94575 (N.D.N.Y. Feb. 27, 1995).

App. D-14: In re Petition of Settoon Towing LLC, 722 F. Supp. 2d 710 (E.D. La. 2010).

App. D-15: Seaboats, Inc. v. Alex C Corp., 2003 WL 203078 (D. Mass. Jan. 30, 2003).

App. D-16: Montauk Oil Transp. Corp. v. Tug El Zorro Grande, 54 F.3d 111 (2d Cir. 1995).

App. D-18: Joslyn Mfg. Co. v. Koppers Co., 40 F.3d 750 (5th Cir. 1994).

App. D-19: Harley Davidson, Inc. v. Minstar, Inc., 41 F.3d 341 (7th Cir. 1994), cert. denied, 514
U.S. 1036 (1995).

App. D-20: United States v. Hardage, 985 F.2d 1427 (10th Cir. 1993).

App. D-21: Beazer E., Inc. v. Mead Corp., 34 F.3d 206 (3d Cir. 1994).

App. D-22: O & G Indus., Inc. v. Nat’l R.R. Passenger Corp., 537 F.3d 153 (2d Cir. 2008).

App. D-23: Deweese v. Nat’l R.R. Passenger Corp., 590 F.3d 239 (3d Cir. 2009).

App. D-26: Russello v. United States, 464 U.S. 16 (1983).

App. D-27: Westchester Surplus Lines Ins. Co. v. Maverick Tube Corp., 590 F.3d 316 (5th Cir.
2009).

App. D-28: Westlake Vinyls, Inc. v. Goodrich Corp., 518 F. Supp. 2d 918 (W.D. Ky. 2007).

App. D-29: MetroPCS Wireless, Inc. v. Telecomm. Sys., Inc., 2009 WL 3418581 (D. Md. Oct.
20, 2009).

App. D-30: Sprint Commc’ns Co., L.P. v. W. Innovations, Inc., 640 F. Supp. 2d 1122 (D. Ariz.
2009).

App. D-31: English v. BGP Int’l, Inc., 174 S.W.3d 366 (Tex. App.—Houston [14th Dist.] 2005,
rev’d and remanded).

App. D-32: Gen. Motors Corp. v. Am. Ecology Envtl. Servs. Corp., 2001 WL 1029519 (N.D.
Tex. Aug. 30, 2001).

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App. D-33: Crawford v. Weather Shield Mfg, Inc., 44 Cal. 4th 541 (2008).

App. D-34: Morella v. Bd. of Comm’rs of Port of New Orleans, 888 So.2d 321 (La. App. 4 Cir.
2004).

App. D-35: MT Builders, L.L.C. v. Fisher Roofing, Inc., 197 P.3d 758 (Ariz. Ct. App. 2008).

App. D-36: Estate of Bradley ex rel. Sample v Royal Surplus Lines Ins. Co., 647 F.3d 524 (5th
Cir. 2011).

App. D-37: Sullen v. Mo. Pac. R. Co., 750 F.2d 428 (5th Cir. 1985).

App. D-38: Lafarge N. Am., Inc. v. K.E.C.I. Colo., Inc., 250 P.3d 682 (Colo. App. 2010).

App. D-39: Foster v. Subsea Int’l, Inc., 101 F. Supp. 2d 454 (E.D. La. 1998).

App. D-40: Jackson v. Tenneco Oil Co., 623 F. Supp. 1452 (E.D. La. 1985).

App. D-43: La Esperanza de P.R., Inc. v. Perez y Cia. De P.R., Inc., 124 F.3d 10 (1st Cir. 1997).

App. D-44: Becker v. Tidewater, Inc., 2007 WL 3231655 (W.D. La. Nov. 14, 2007), aff’d in
part, rev’d in part, 586 F.3d 358 (5th Cir. 2009).

App. D-46: Tesoro Petroleum Corp. v. Nabors Drilling USA, Inc., 106 S.W.3d 118 (Tex. App.—
Houston [1st Dist.] 2002, pet. denied).

App. D-47: Joseph Thomas, Inc. v. Graham, 842 S.W.2d 343 (Tex. App.—Tyler 1992, no writ).

App. D-48: Hanks v. GAB Bus. Serv., 644 S.W.2d 707 (Tex. 1982).

App. D-53: Todd Shipyards Corp. v. Turbine Serv., Inc., 674 F.2d 401 (5th Cir. 1982).

App. D-54: Smith v. Golden Triangle Raceway, 708 S.W.2d 574 (Tex. App.—Beaumont 1986,
aff’d in part, rev’d and remanded in part).

App. D-55: Broom v. Leebron & Robinson Rent-A-Car, Inc., 626 So.2d 1212 (La. Ct. App.
1993).

App. D-56: Austro v. Niagara Mohawk Power Corp., 487 N.E.2d 267 (N.Y. 1985).

App. D-57: First Jersey Nat’l Bank v. Dome Petroleum Ltd., 723 F.2d 335 (3d Cir. 1983).

App. D-58: Dixon Distrib. Co. v. Hanover Ins. Co., 641 N.E.2d 395 (Ill. 1994).

App. D-59: In re Horizon Vessels, Inc., 2005 U.S. Dist. LEXIS 42110 (S.D. Tex. Dec. 22, 2005).


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App. D-60: Energy XXI, GOM, LLC v. New Tech Eng’g., 2011 WL 1458638 (S.D. Tex. Apr. 15,
2011).

App. D-63: Sevarg Co. v. Energy Drilling Co., 591 So.2d 1278 (La. Ct. App. 1991).

App. D-64: Orient Mut. Ins. Co. v. Adams, 123 U.S. 67 (1887).

App. D-65: N.Y., New Haven & Hartford R.R. Co. v. Gray, 240 F.2d 460 (2d Cir. 1957).

App. D-66: Tropical Marine Prods., Inc. v. Birmingham Fire Ins. Co., 247 F.2d 116 (5th Cir.
1957), cert. denied, 355 U.S. 903 (1957).

App. D-67: Allen N. Spooner & Son, Inc. v. Conn. Fire Ins. Co., 314 F.2d 753 (2d Cir. 1963),
cert. denied, 375 U.S. 819 (1963).

App. D-68: Griffin v. Tenneco Oil Co., 625 So.2d 1090 (La. Ct. App. 1993).

App. D-69: In re Torch, Inc., 1996 WL 185765 (E.D. La. Apr. 16, 1996).

App. D-70: In re TT Boat Corp., 1999 WL 1442054 (E.D. La. Sept. 8, 1999).

App. D-71: Taylor v. Lloyd’s Underwriters of London, 972 F.2d 666 (5th Cir. 1992).

App. D-72: Randall v. Chevron U.S.A., Inc., 13 F.3d 888 (5th Cir. 1994).

App. D-75: Becker v. Tidewater Inc., 335 F.3d 376 (5th Cir. 2003).

App. D-76: Becker v. Tidewater Inc., 405 F.3d 257 (5th Cir. 2005).

App. D-78: United States v. Ward, 448 U.S. 242 (1980).

App. D-80: Tug Ocean Prince, Inc. v. United States, 436 F. Supp. 907 (S.D.N.Y. 1977).

App. D-81: United States v. Tex-Tow, Inc., 589 F.2d 1310 (7th Cir. 1978).

App. D-83: USG Corp. v. Brown, 1997 WL 89229 (N.D. Ill. Feb. 25, 1997).

App. D-84: United States v. Gen. Dynamics Corp., 755 F. Supp. 720 (N.D. Tex. 1991).

App. D-85: United States v. Thorson, 300 F. Supp. 2d 828 (W.D. Wis. 2003).

App. D-86: Scholastic Inc. v. M/V Kitano, 362 F. Supp. 2d 449 (S.D.N.Y. 2005).




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App. D-87: United States v. City of Twin Falls, Idaho, 806 F.2d 862 (9th Cir. 1986), cert. denied,
482 U.S. 914 (1987), overruled on another ground by Crawford Fitting Co. v. J.T. Gibbons, Inc.,
482 U.S. 437, 442 (1987).

App. D-88: Beerman Realty Co. v. Alloyd Asbestos Abatement Co., 653 N.E.2d 1218
(Ohio Ct. App. 1995).

App. D-89: United States v. J & D Enterprises of Duluth, 955 F. Supp. 1153 (D. Minn. 1997).

App. D-92: Nat’l Surety Corp. v. United States, 1944 A.M.C. 1496 (5th Cir. 1944).


Statutes / Rules
App. D-3: FED. R. CIV. P. 56(a).

App. D-8: Uniform Contribution Among Tortfeasors Act (“UCTA”) (1955 Revised Act).

App. D-13: 33 U.S.C. § 2704(c)(1).

App. D-17: 42 U.S.C. § 9607(e)(1).

App. D-25: 33 U.S.C. § 2716(f)(1).

App. D-52: Louisiana Civil Code art. 2004.

App. D-91: FED. R. CIV. P. ADMIRALTY SUPP. RULE E(5)(a).


Additional Sources
App. D-1: Brief of Appellees BP et al. in Fina, Inc. v. ARCO, 200 F.3d 266 (5th Cir. 2000), 1999
WL 33621574.

App. D-7: Pretrial Order No. 41 (Case Management Order No. 3), Dkt. No. 4083.

App. D-12: Order and Reasons, Dkt. 3830.

App. D-24: Oil Pollution Act of 1990, Pub. L. 101-380, 104 Stat. 484, tit. VIII § 8102(e) (1990).

App. D-41: BP Parties’ Counter-Complaint, Cross-Complaint and Third Party Complaint
Against Transocean and Claim in Limitation, Dkt. 2074.

App. D-42: BPXP’S Cross-Claim and Third Party Complaint against Transocean, Dkt. 2075.

App. D-45: Baker Hughes Reply Memorandum in Support of Motion for Summary Judgment,
Becker v. Tidewater, Inc., 2005 WL 2891044.


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App. D-49: RESTATEMENT (SECOND) OF CONTRACTS § 195(1).

App. D-50: 15 CORBIN ON CONTRACTS § 85.18 (2003 ed.).

App. D-51: 8 R. LORD, WILLISTON ON CONTRACTS §19:20 (4th ed. May 2011).

App. D-61: New Tech Engineering L.P.’s Motion for Certification of Order for Interlocutory
Appeal, Case 4:10-cv-00110 (S.D. Tex.), Dkt. 53.

App. D-62: Appellant’s Brief in Houston Exploration Co. v. Halliburton Energy Servs., Inc., 269
F.3d 528 (5th Cir. 2001), 2000 WL 33988457.

App. D-73: Brief of Baker Hughes et al., 2002 WL 32180622.

App. D-74: Brief of Tidewater Inc. et al., 2002 WL 32180621.

App. D-77: Brief of Baker Hughes et al., 2008 WL 7295642.

App. D-79: 22 U.S. Opinions Office of Legal Counsel 141, 1998 WL 1180050 (July 22, 1998).

App. D-82: Oil Pollution Act of 1990, Pub. L. 101-380, 104 Stat. 484, tit. II § 2002(a) (1990).

App. D-90: T. SCHOENBAUM, ADMIRALTY & MARITIME LAW § 19-12 (4th ed.).




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               FACTUAL BACKGROUND AND SUMMARY OF ARGUMENT

I.       BP’s Contractual Promises Made

         BP is one of a small handful of the world’s largest oil and gas companies, employing

nearly 80,000 employees, operating in eighty countries, and generating revenue in excess of

$297 billion in 2010.1 In 1998, well over a decade before the BP spill at Macondo, BP and

Transocean entered into a contract governed by maritime law concerning the operation of the

Deepwater Horizon, an offshore drilling vessel specifically built for and pursuant to

specifications required by BP (the “Drilling Contract”).a In this Drilling Contract, BP and

Transocean agreed to standard industry reciprocal indemnity language.                      They contractually

agreed or promised to indemnify one another “WITHOUT LIMIT AND WITHOUT

REGARD TO THE CAUSE OR CAUSES” of the incident, including negligence

“WHETHER SUCH NEGLIGENCE BE SOLE, JOINT OR CONCURRENT, ACTIVE,

PASSIVE OR GROSS.”2 BP’s promise to Transocean also expressly included indemnity for

fines and penalties. Regarding environmental pollution, BP promised to indemnify Transocean

for any and all pollution obligations (except those originating on or above the surface of the

water), including any “LOSS, DAMAGE, EXPENSE, CLAIM, FINE, PENALTY, DEMAND

OR LIABILITY.”3




a
  The contract was originally executed between Vastar and Reading & Bates, predecessors to BP and Transocean,
respectively. BP and Transocean amended this contract several dozen times over a ten-year period, including, by
way of example: July 24, 2001; August 16, 2001; December 12, 2001; September 18, 2002; January 6, 2003;
February 28, 2003; November 12, 2003; February 28, 2004; April 19, 2004; February 20, 2005; March 31, 2005;.
April 12, 2005; April 20, 2005; September 18, 2005; September 18, 2006; May 18, 2007; September 18, 2007;
December 18, 2007; March 18, 2008; and September 28, 2009. Although the Drilling Contract is designated as
confidential a copy is publicly available in conjunction with Transocean’s 10-Q filing last August. See generally,
App.         A-3:        Drilling         Contract,       BP-HZN-MBI00021460–999,              available        at
http://www.sec.gov/Archives/edgar/data/1451505/000145150510000069/exhibit10_1.pdf.


14965978.1                                         1
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        To be sure, BP is a large, sophisticated companyb that is familiar with standard industry

risk allocation mechanisms, and was represented by counsel in its contractual negotiations. BP

and its counsel are presumably knowledgeable of existing case law and are fully competent and

capable of excepting gross negligence from any indemnity provisions if BP desired to do so. In

fact, BP has done so in other instances, discussed below. The clear objective of the Deepwater

Horizon indemnity agreement is to allocate risk and quantify liability meaningfully—not to

eliminate it entirely.     In some places in the Drilling Contract the parties excepted gross

negligence; in others they did not. Similarly, in some places the indemnity obligations were

limited to an amount certain, but in others they were not.4 The financial impact of the risk of all

exposure has been retained, not eliminated, but in certain industry-accepted areas the risks have

been transferred to the party best able to sustain the risk: BP. BP is significantly larger than any

other Macondo contractor, and so are its rewards and its risks. BP controls the ownership and

development of Macondo, and is in the best position to mitigate or eliminate risks.                       The

Macondo contractors are smaller, and they accept proportionate risks.

        The Drilling Contract does not exonerate or exculpate either party from the financial

consequences of the blowout of the Macondo well. Notably, Transocean promised to defend

claims and pay for injury or death of Transocean employees, which it has agreed to do, and for

pollution emanating from the rig or originating above the surface of the water, which it has said

repeatedly it would do.5 Transocean also agreed to indemnify BP for loss or damage to third

parties caused by the drilling unit while off location or underway; up to $15 million per



b
 As of October 19, 2011, BP’s market cap was $133.824 billion as compared to Transocean’s $16.335 billion. App.
A-4: BP New York Stock Quote – BP PLC – Bloomberg, http://www.bloomberg.com/quote/BP:US (last visited Oct.
22, 2011); App. A-5: RIG New York Stock Quote – Transocean Ltd/Switzerland – Bloomberg,
http://www.bloomberg.com/quote/RIG:US (last visited Oct. 22, 2011).


                                                      2
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occurrence.6 Transocean also accepted the liability and agreed to indemnify BP for loss or

damage to the drilling unit.7        These are significant exposures to Transocean’s business

operations: providing its customers with drilling rigs.         Transocean and other Macondo

contractors chose, to the extent they could, to insure this risk in the public insurance market. BP

chose not to insure its own risks.

       Despite BP’s convenient and sudden claim to the contrary, these industry risk allocation

agreements do not in any way conflict with the public interest in safety. Transferring that

liability to BP—as the operator in control and with overall responsibility for safety of the project

and for selecting and supervising all contractors—does not reduce overall incentives to safety.

BP exercises control and dominion over all information and decision-making relating to the well

and associated risks.     As the operator, BP is also the interface to the government for all

regulatory requirements. BP is responsible for the well design and geological analyses. Further,

BP selects and supervises all contractors on the well site; mandates the drilling equipment

specifications; directs the cement, mud, spacer, and casing programs; decides whether to run or

not run logs; and other operational issues essential to safe drilling of the well. BP decides what

information to share with its contractors. Contractors, who are not in a position to be aware of—

much less evaluate—all risks, should not be expected to have assumed the risks particularly

when the parties agree to a contract providing otherwise.

       The allocation simply places the largest risk with the party best able both to control and

prevent that risk and, failing that, to withstand the financial consequences: BP. Suggesting that

Transocean’s or other contractors’ incentives to conduct safe operations are somehow minimized

or non-existent under such arrangements—as if they do not have a proportionately immense

investment of human and material resources at stake—is absurd and belied by the realities of the


                                                 3
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loss of and injury to Transocean employees, the loss of Transocean’s drilling rig, and by the

realities of the current litigation all contractors are facing. Does BP seriously contend that it

alone has suffered the consequences of this tragic event?

       In short, BP and Transocean entered into a promise—a standard oil patch contracting

agreement similar to many to which they both had agreed before Macondo. BP has made similar

promises to other drilling contractors and oilfield contractors both before and after Macondo;

Transocean has signed similar agreements with other companies both before and after Macondo.

Indeed, BP and Transocean have entered into similar agreements with each other since the

Macondo blowout. Ultimately, the drilling industry, including its financing and underwriting

sectors, relies upon the trust between the operator and the contractor, in that both parties will

fulfill their contractual promises. When this trust is violated, as BP has done in this case, the

industry suffers the consequences.

II.    BP’s Contractual Promises Broken

       In a May 10, 2010 letter, Transocean tendered its defense and indemnity demand to BP

for those liabilities contractually assumed by BP. In this same letter Transocean accepted its

own contractual obligations, namely to defend and indemnify BP for personal injury claims

asserted by Transocean employees against BP.8 On June 25, 2010, BP responded. Instead of

living up to its word—not to mention its sloganeering to “make things right”—BP refused to

defend and indemnify Transocean.          Despite its clear and unambiguous obligation to

“PROTECT, RELEASE, DEFEND, INDEMNIFY AND HOLD HARMLESS” Transocean,

BP dubiously responded that it could not “determine that it is obligated to defend or indemnify

Transocean” due to the mere existence of ongoing investigations and “allegations” of gross

negligence. Even more astoundingly, BP then proceeded to claim such allegations were not

subject to indemnity as a matter of law, despite the clear language of BP’s contractual promise
                                                4
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and generally accepted industry practices.9 No factual evidence of Transocean’s alleged gross

negligence existed at the time of BP’s denial; nor does any exist today.

       As discussed in detail below, the Joint Operating Agreement (“JOA”) between BP and

the other Macondo owners, MOEX and Anadarko, provided that liabilities were shared in

proportion to each owner’s interest, unless the liability arises from gross negligence or willful

misconduct, in which case the grossly negligent party is solely responsible for the entire loss.

Ironically, less than a month after the June 25, 2010 letter, on July 9, 2010, Kirk Wardlaw, BP’s

Senior Negotiator for the Western Hemisphere, sent a letter to Jim Bryan and Robert Reeves of

Anadarko, demanding that Anadarko                           under the JOA that Anadarko was

             as a result of                                                                  BP

insisted that there was no provision in the JOA that would permit Anadarko

during the pendency of                                         .   Mr. Wardlaw went on to state:



                    10
                         BP’s paradoxical position can lead to only one inescapable conclusion:

where BP wants money, contractual obligations are paramount, but where BP owes money, those

contracts are out the window. Turning BP’s own words to Anadarko back to BP:




                              BP.11

        BP’s pre-Macondo decision to indemnify contractors irrespective of gross negligence is

a conscious and consistent business practice of BP. A chart summarizing BP’s promises to

indemnify Transocean and BP’s other contractors, both on Macondo and on other wells, is


                                                5
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provided in Appendix A-9. Review of this chart and the underlying agreements reveals BP’s

practice of assuming gross negligence indemnity in all of its contracts for Transocean drilling

vessels in the Gulf of Mexico as of April 20, 2010,c and in BP’s contracts with other Macondo

contractors, including Halliburton,12,d M-I Swaco,13 Schlumberger,14 and Weatherford.15                           In

contracting for usage of the                 in the Macondo response effort, BP agreed to indemnify

       for gross negligence.16 BP also entered into two long-term drilling contracts in 2008 with

another drilling contractor,                                    that also specifically include indemnity

obligations that survive gross negligence.17

        Moreover, and perhaps most strikingly, BP extended and amended contracts with both

Transocean, for the Enterprise, and with                                , for                     that reaffirmed

and expanded BP’s indemnity obligations to include gross negligence after the Macondo

incident and even after BP took the position that gross negligence should not be indemnified




c
  Due to confidentiality provisions contained therein, copies of these contracts are not publicly disclosed. Such
contracts include those for the DD II, App. A-10: Long Term Development Unit Contract between BP America
Production Company and GlobalSantaFe Drilling Company for the Development Driller II, Atlantis Deepwater
Development, Contract No. BPM-03-00556, Article 13.01.05, at p. 15, App. A-11: BP American Production
Company Offshore Drilling / Workover / Completion Contract (with Transocean for the Discoverer Enterprise),
Article 12.8, at p. 17-18, and Amendment No. 13, generally p. 1-2. Further, several contracts for rigs operating
outside the Gulf of Mexico also provide for gross negligence indemnity, including the Discoverer Luanda, the
Constellation I, and the Constellation II. See App. A-12: Angola Newbuild, Provision and Operation of a Mobile
Offshore Drilling Unit, Contract Number CON-ANG-31-5477, Section 2, Article 15.8, at p. 16-17; App. A-13: BP
Trinidad and Tobago LLC and Global Santa Fe, Provision and Operation of a Mobile Offshore Drilling Unit
Constellation I, Contract No. DRCS-S-3715, Section 2, Article 6.8, at p. 12; and App. A-14: Contract No. PHPC-
DC-09-0006 between Pharaonic Petroleum Company and Global Santa Fe Services (Egypt) LLC (Transocean) for
the Provision and Operation of Jack-Up Drilling Unit, Section 2, Article 20.16, at p. 23-24.
d
  Halliburton filed suit in state court in Harris County, Texas, seeking enforcement of its indemnity agreement with
BP. The case was removed, then centralized in the MDL, before this Court. The allegations in the petition and
issues implicated are strikingly similar to the case at bar. Specifically, Halliburton seeks indemnity for pollution
claims where the discharge did not originate from Halliburton’s equipment, personal injury claims brought by BP’s
employees, claims relating to damage to BP property, and claims by third parties that arise from BP’s negligence.
On May 5, 2010, BP refused to honor these promises, despite the express promises in BP’s contract with
Halliburton. BP similarly contended that the facts of the underlying litigation were not sufficiently developed. App.
A-16: Plaintiff Halliburton Energy Services, Inc’s Original Petition v. BP Exploration & Production, Inc., BP
America Production Co., and BP p.l.c., 2011-52580, Court 234.


                                                         6
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as a matter of law.18        Similarly, BP’s Macondo settlement agreements with MOEX,

Weatherford, and Anadarko provide indemnity for                             resulting from

          conduct.19

       Beyond their historical use by the parties and particular role in this case, indemnification

obligations that include gross negligence allegations are a consistent industry practice. The

International Association of Drilling Contractors (“IADC”) model contracts for offshore drilling

expressly provide indemnity despite gross negligence.20 BP, as a member of the IADC, is

familiar with this provision.    In contrast, the model JOA of the American Association of

Professional Landmen reflects an operators’ industry standard of allocating liability in proportion

to participating interest shares—unless the liability arises from gross negligence or willful

misconduct, in which case that party is solely responsible.21 As a member of the OCS Advisory

Board,22 which makes available this form JOA, BP clearly knew how to exclude gross

negligence from the scope of the indemnity agreement or allocate risk differently had it so

desired. In fact, BP did so in its JOA with MOEX and Anadarko, its Macondo partners.23 BP

has done so in certain contracts with other contractors in the Macondo project, including
                                                            4
                                    and

       So we ask BP, why the broken promise to your Macondo contractors? Why have you

signed so many contracts, reviewed by an army of your lawyers and businessmen, that you have

no intention of honoring? The answer is simple: money. BP sacrificed quality and failed to

implement risk management and mitigation processes to ensure overall safety and success of the

operations at Macondo just to save costs on a project that was well above budget.25 In the wake

of the Macondo tragedy, BP, realizing the financial impact of its contractual promises, now flees

from them. Instead of fulfilling its promises, BP points to its contractors for money BP promised


                                                7
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to pay, and blames the blowout on those who worked at BP’s direction and under its control.

Such was precisely BP’s reaction in the wake of the 2005 Texas City refinery tragedy: it blamed

its own low-level employees, ignoring the effect of BP’s corporate culture and procedural

shortcomings. If there is any legal consistency in BP’s pre-incident contractual promises and its

post-incident contractual positions, it is this: If BP is entitled to money, pay now. If BP owes

money, there must be a legal loophole. BP’s self-serving oscillation between diametrically

opposed legal positions based on its perceived financial exposure must end. It must honor its

promises.

       These contracts are not mere legal rhetoric, but rather are recognized in the industry as

being essential to the fundamental business relationship between an operator and its drilling and

other contractors. The principle is simple: the party that owns and controls the project and reaps

the reward bears the risk of activities associated with obtaining that level of profit.       The

allocation of risk accomplished through the contractual indemnities provides the risk and

financial certainty necessary for drilling and other contractors and their underwriters,

shareholders and banking institutions. This certainty of risk allocation determines daily lease

rates or charter hires for drilling rigs and insurance premiums and loan flexibility needed to

operate successfully.   Requiring contractors—after a massive oil spill—to bear significant,

unbargained-for risks and liability will devastate the industry. Contractors cannot absorb such

levels of exposure and are not able to obtain insurance coverage necessary to insure such risks.

Tony Hayward, BP’s Chief Executive Officer at the time of the Macondo incident, recognized as

much in an interview with Forbes, commenting that “[y]ou can’t insure. That’s why [BP] is self-

insured.”26 Hayward confirmed that even if such coverage could be obtained, the high cost of

the premiums would make it impractical, which is why BP did not procure insurance from third


                                                8
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parties. “[BP] didn’t have an insurance policy against the risks it was—it was undertaking, in

essence, . . . [BP] self-insured and took those risks onto [its] balance sheet.”27 Paradoxically, in

the declaratory judgment suit pending before this Court, BP goes so far as to argue that

Transocean and its underwriters intended to and did insure BP for environmental risks BP says it

cannot afford to insure itself. If BP, one of the largest corporations in the world, cannot afford

to insure for underwater blowouts, can it reasonably expect its Macondo contractors like

Transocean to do so?

           Not that BP should need additional support for why it should honor its promises, but Dr.

Hayward’s view is amply supported by representatives of the insurance industry. Indeed, in the

Summer of 2010, when Congress was considering whether to reduce or eliminate caps on

liability under various federal statutes, the insurance industry weighed in, voicing its concern

regarding the potential impacts on the ability of the insurance industry to provide the

contemplated required and expanded environmental pollution coverage.                       The resounding

consensus was that availability of insurance would be radically reduced, leading to limitations on

the ability of companies to continue and initiate exploration and development opportunities.28

Paul King, Director of INDECS, forecasted that “quite simply the energy insurance market will

no longer be an option.” Only super majors and foreign state-owned oil companies would be

capable of obtaining alternate methods of financial responsibility.29 Similarly, John Lloyd,

Chairman and CEO of Lloyd & Partners,e expressed concern about any attempt to hold all

parties liable, as opposed to the operator, as is traditionally understood. Mr. Lloyd observed that

“if every party involved in the loss (operating group, drilling contractor, other service

contractors—such as mud or cementing contractors—and blowout preventer manufacturers) are

e
    In the interest of full disclosure, Lloyd & Partners is one of Transocean’s brokers.


                                                             9
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successfully sued then the market will be exposed to a degree much larger than anticipated when

committing capacity to individual [i]nsureds. This has already resulted in at least one major

London energy liability insurance leader advising . . . that they are cutting back their maximum

capacity for individual [i]nsureds by a third.”30

       There is no public policy against enforcing a promise whereby one contracting party

agrees to indemnify the other contracting party for liability for injuries caused to a third party,

even if it is claimed that the party being indemnified was grossly negligent. Public policy is not

offended by indemnity provisions that allocate risk and do not exonerate anyone. Rather, public

policy demands that parties live up to their contracts—their promises. Public policy would be

turned on its head were drilling contractors or other oilfield service providers required to bear

financial risks for losses in excess of their capital worth and exposure beyond that which can be

insured. To put the policy question another way, is public policy advanced by transferring risk

from the party that owns the project, controls the risk, and agrees to and can pay, to one that

didn’t agree to assume the risk—and cannot even afford to insure that risk—to say nothing of

paying for it out of pocket without the aid of insurance? As BP itself argued in a recent brief

filed in the Fifth Circuit (when it was arguing in favor of enforcement of contractual indemnity):

           There is perhaps, no higher public policy of the state than to uphold
           contracts validly entered into and legally permissible in subject matter . . .
           “It must not be forgotten that you are not to extend arbitrarily those rules
           which say that a given contract is void as being against public policy,
           because, if there is one thing which more than another public policy
           requires, it is that men of full age and competent understanding shall
           have the utmost liberty of contracting, and that their contracts, when
           entered into freely and voluntarily, shall be held sacred, and shall be
           enforced by courts of justice. Therefore you have this paramount public
           policy to consider: That you are not lightly to interfere with this freedom
           of contract.”31

BP: We agree with what you argued to the United States Court of Appeals for the Fifth Circuit.

       BP’s corporate expectation, as reflected in its Code of Conduct, is that BP personnel at all
                                                    10
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levels are expected to honor promises that they make.32 BP’s corporate expectation is that

contracts should be enforced as written and that all parties should live up to their agreements.33

As Dr. Hayward testified, men in the oil patch should be honorable; your word is your bond.

This is a cornerstone of the industry, and is the reason the industry works.34 Unfortunately, there

is a disconnect between BP’s managerial philosophy and its legal maneuverings.

       After the April 20, 2010 Macondo blowout, BP’s public posture was that it was a good

corporate citizen, living up to its legal obligations. BP’s position is a public charade. BP wants

to perform and honor its contracts selectively, despite being fully aware of the provisions

contained therein. Over the years and throughout the performance of the Deepwater Horizon,

multiple opportunities existed to revise any unacceptable indemnity obligations, but in the over

thirty amendments to the contract such revisions never occurred. In fact, BP broadened its

promises to Transocean. BP made similar indemnity promises to many of its Macondo and its

non-Macondo contractors. These contractual indemnity promises have been made by BP both

before Macondo, after Macondo, and even after BP declined to honor its contractual indemnity

promise to Transocean and the other Macondo contractors.

       These inconsistent positions taken by BP—its insistence that Anadarko not make the very

argument BP is making here, its longstanding pre-Macondo practice of indemnifying its

contractors for allegations of gross negligence, and its post-Macondo and even post-June 2010

promises to indemnify both Transocean and                   for gross negligence—are not made

accidentally and cannot be blamed simply on the complex nature and fast moving pace of the

MDL. These positions are in fact perfectly consistent with the BP method of contractual

interpretation demonstrated thus far in this litigation: heads we win, tails you lose.

       At the time of this filing, BP continues to enter into contracts it simply does not intend to


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honor, except, of course, when BP stands to gain money rather than lose money, as in the case of

with its partners in Macondo.     As recently as October 3, 2011, BP’s attorneys instructed

Transocean that: “Under the Drilling Contract, Transocean must defend, indemnity [sic] and hold

harmless [BP] from all claims for personal injury or death brought by Transocean employees.”35

In other words, BP will not honor its promises, but instructs Transocean to continue doing what

it always has done: honor the Drilling Contract. While Transocean has never contested its

obligations, BP has never acknowledged its promises. BP’s schizophrenic view of contracts

should not be countenanced. Sanctity of contract is the essential underpinning of successful

business operations in the oil and gas industry, and contracts should be enforced as written.36 To

the extent these agreements are not enforced as written, the industry will undoubtedly cease to

function in the Gulf of Mexico and elsewhere in the world wherever drilling takes place. Each

and every claim for relief asserted by BP against Transocean and the other Macondo contractors

is barred by its contractual promises to Transocean. Accordingly, each and every claim asserted

by BP against Transocean should be dismissed.         BP should be required to live up to its

contractual promises, and Transocean should be granted full and complete indemnity from BP

for all claims made against Transocean for environmental damages caused by wellhead

pollution; civil fines and penalties; unpaid invoices associated with the Deepwater Horizon;

attorneys’ fees, expenses, and court costs incurred for defending the claims for environmental

losses, fines and penalties, and for enforcement of the contract; and all other losses, fees, and

expenses incurred as a result of BP’s broken promises.

                                         ARGUMENT

I.      Standard of review

        Summary judgment is appropriate where the Court is satisfied “that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”37
                                               12
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“This burden is not satisfied with ‘some metaphysical doubt as to the material facts,’ . . . by

‘conclusory allegations,’ . . . by ‘unsubstantiated assertions,’ . . . or by only a ‘scintilla’ of

evidence . . . . We resolve factual controversies in favor of the nonmoving party, but only when

there is an actual controversy, that is, when both parties have submitted evidence of

contradictory facts.    We do not, however, in the absence of any proof, assume that the

nonmoving party could or would prove the necessary facts.”38                 “[S]ummary judgment is

appropriate in any case ‘where critical evidence is so weak or tenuous on an essential fact that it

could not support a judgment in favor of the nonmovant.’ If the nonmoving party fails to meet

this burden, the motion for summary judgment must be granted.”39

        Summary judgment is especially appropriate in cases involving unambiguous contracts.

Where, as here, the “agreement is clear and unambiguous,” “contract interpretation is a question

of law.”40 This motion is also appropriate under the trial plan that the Court recently entered.

Section I of the Order states: “The trial will address . . . other bases of liability of . . . the various

defendants . . . with respect to the issues . . . .” BP's contractual indemnity obligation is an

example of “other bases of liability.” Section I also states: “Phase One will include issues

asserted in or relevant to counterclaims, cross-claims, third-party claims, and/or comparative

fault defenses as appropriate.”41 The indemnity issue presented by Transocean's motion is

triggered by Transocean's 14(c) tender of BP and by BP's cross-claim and third-party claims for

contribution.

II.     BP’s attempt to avoid its contractual promises by alleging Transocean and its
        deceased and injured workers were grossly negligent is both morally repugnant and
        controverted by the testimony of BP personnel, from its CEO to its Well Site
        Leaders, and by all of BP’s contractors’ employees.

        Transocean’s commitment to safety is strong and entrenched in the daily operations of

Transocean’s organization and in its employees onshore and offshore. BP recognizes as much—

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approximately six drilling rigs currently work for and house BP personnel at the time of the

filing of this motion.42 From the BP rig crew, which lived and worked on the Deepwater

Horizon, to executives at the most senior levels within BP, BP employees have consistently and

affirmatively testified that Transocean’s crew was capable, competent, and safety-minded and

that unsafe rig conditions were not observed or reported to management even though BP

personnel routinely worked and lived aboard and audited the condition of the vessel. BP

employee and management testimony is corroborated by numerous third-party crew members

and independent and government inspectors that also worked and lived on the rig or frequently

visited and inspected it. In excess of one hundred witnesses praised the Transocean rig crew

and testified favorably regarding the safety culture onboard the rig and the condition of the rig

and its equipment. The testimony and documentation reflecting the strength of the crew and

safety of the rig, too extensive to catalog in its entirety here, is chronicled in Appendix B-112.f

However, for the Court’s benefit, and in support of this motion, here are but a few of the sworn

statements of BP and third-party witnesses. Additionally, documents affirming the condition of

the Deepwater Horizon and caliber of its crew are provided in Appendix C.43

        A.       BP employees praise the Deepwater Horizon and her crew.

        Mark Bly, who led BP’s internal investigation into the April 20, 2010 incident and was

commissioned by BP to review and assess the capabilities and conduct of BP and its contractors

at Macondo, testified that the investigation uncovered no evidence that any company or person

maliciously, deliberately, or intentionally caused injury to other humans or to the environment.44


f
  The compilation in Appendix B is inclusive of depositions completed on or before Monday, October 17, 2011. To
the extent that subsequent testimony provides additional support for Transocean’s position, Transocean reserves the
right to supplement the testimony detailed in Appendix B. In light of ongoing designations and de-designations of
confidential testimony, Transocean has made every effort to move to seal testimony accurately and has erred on the
side of caution in this regard.


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He stated, “I didn’t see any malicious intent in anything that we observed.”45 Gillian Cowlam,

another member of BP’s investigation team, confirmed that she never learned of any evidence

suggesting that the Transocean employees aboard the Deepwater Horizon were indifferent

toward the safety of other humans or the environment.46

       Perhaps the BP employees most familiar with the condition and operations of the

Deepwater Horizon and the professionalism of her crew are BP’s Well Site Leaders, Ronnie and

Murry Sepulvado, and BP’s Wells Team Leader, John Guide. The BP Well Site Leaders lived

aboard the rig and worked with her crew for years. They are as knowledgeable about the rig and

her crew as anyone. Ronnie Sepulvado described the crew as: “good people, ... good workers

and good safety people.”47 None of these BP employees ever observed callousness, recklessness,

or indifference to the safety of others or the environment from the crew of the rig. They thought

highly of the drilling rig’s management, specifically: Jason Anderson (deceased), Stephen Curtis

(deceased), Randy Ezell, Jimmy Harrell, Curt Kuchta, Paul Johnson, and Dewey Revette

(deceased).48 Each trusted the abilities of the Deepwater Horizon crew and, most compelling,

would be comfortable working with the same crew to this day.49 Ronnie Sepulvado, who had

been assigned to the Deepwater Horizon for eight years and considered it his home away from

home, testified that the Transocean rig crew would not hide issues that would subject them or

anyone else to safety issues out on the rig.50 He worked with many of the men who lost their

lives on April 20, 2010, and felt the drilling crew was both competent and committed to safety.51

In John Guide's opinion, Transocean had a very good safety management system that included

risk assessments. Knowing the competency of the crew and the condition of the Deepwater

Horizon, Guide was surprised when he learned of the explosion. Further, he spent the night on

the rig in 2010 and admitted that if he had any concerns about the safety of the rig, he would not


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have slept on it. Guide was confident in the drill crew’s ability and believed that Transocean Rig

Manager Paul Johnson “had a good attitude towards safety and the environment.”52

           Brett Cocales, BP’s Drilling Engineer, was on the rig in September and October 2009

and, likewise, testified that when drilling and well operations commenced at Macondo he

personally was satisfied that the rig and its equipment were in a safe operating condition and that

the personnel on the rig were trained and competent. Cocales remained actively involved in the

BP Audit process through April 2010, at which time Cocales was again satisfied with the

condition of the equipment and caliber of personnel aboard the Deepwater Horizon.53

           BP’s primary marine inspector, Angel Rodriguez, never witnessed any unsafe operation

during his rig visits, nor did he witness any action by any member of the Deepwater Horizon

crew that would be considered reckless, malicious, or indifferent towards the safety of others or

the environment. He perceived the rig to be managed by a safety conscious, competent crew that

endeavored to address and resolve the items identified in the 2009 BP Audit, and Rodriguez

believed that the rig was operating safely from a marine standpoint when it returned to

operations in September 2009.54 He inspected the rig in March 2010, less than a month before

this tragic event, and found the rig and its crew to be fit.55 BP did not simply assess the rig and

its crew as part of a routine, casual site visit. In Article 18.2 of the Drilling Contract, BP insisted

that it:

           shall be entitled to designate a representative(s), who shall at all times have
           complete access to the Drilling Unit for the purpose of observing or inspecting
           operations performed by CONTRACTOR in order to determine whether, in
           COMPANY'S sole opinion, CONTRACTOR has complied with the terms and
           conditions of this CONTRACT. The representative(s) shall be empowered to act
           for COMPANY in all matters relating to CONTRACTOR'S daily performance of
           the work.56




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The audits, like those conducted by Mr. Rodriguez, were BP’s right and responsibility. They

were undertaken thoroughly by personnel chosen by BP. Does BP seriously contend that its own

inspectors operating pursuant to contractual rights cannot determine whether a drilling rig is

properly maintained and whether her crew is competent?

       BP managerial personnel support this testimony, agreeing that there was never any

indication that the Transocean Deepwater Horizon crew deliberately caused harm to the

environment or others; maliciously tried to cause injury to the environment or another person; or

simply was indifferent about the safety of the environment or others. To the contrary, these

witnesses found the crew to be knowledgeable, skilled, and trusted workers.57 Pat O’Bryan, the

Vice President of Drilling and Completions, Gulf of Mexico, Deepwater, was onboard the rig at

the time of the incident. O’Bryan testified that the Deepwater Horizon was the best performing

rig in both safety and operations in the BP fleet. He was anxious to visit the rig to observe “what

good looks like” from a safety and performance perspective and to apply those practices on other

BP rigs.58

       Indeed, Tony Hayward, the former Chief Executive Officer of BP, testified under oath

that he was never advised by anyone within BP that Transocean or its employees were

indifferent towards the welfare of the environment or others.59 Dr. Hayward acknowledged that

Transocean is “one of the world’s largest and most respected drilling contractors” and “as of the

time [he] left BP, one of the preferred providers throughout the world for BP in drilling its

deepwater wells.”60 When questioned “[i]f anyone [at BP] had ever come to [him] and suggested

that Transocean was callous, indifferent, or just didn’t plain give a damn about the welfare of the

environment or individuals” and whether it was his obligation as CEO either to terminate all

relationships with Transocean or appoint someone to look into those allegations, Dr. Hayward


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admitted that “others would have taken action before it got to me, I’m certain.”61 The record is

devoid of testimony that any such actions occurred. Even today, Dr. Hayward would hire

Transocean and admired the surviving crew of the Deepwater Horizon, many of whom he met at

the Deepwater Horizon memorial.62

         The BP plc senior independent director and chair of the committee overseeing corporate-

wide safety, Sir William Castell, described Transocean as a company held in high regard and the

company BP chose to use in its relief efforts.63                 BP’s former Chief Operating Officer of

Exploration and Production, Doug Suttles, praised the men and the condition of the Deepwater

Horizon.64

         The night of this tragic event, senior BP personnel, such as David Sims and Patrick

O’Bryan, were onboard the Deepwater Horizon for a leadership visit and to commend her and

her crew for being a model of safety.65 From BP’s senior independent director, to its CEO and

COO, to Executive and Senior Vice Presidents, Chief Engineers, Marine Authorities, Well Team

Leaders, Well Site Leaders, BP’s Lead Incident Investigators, and everyone in between, they

found no evidence of gross negligence and, indeed, all believed this was an exemplary rig and

crew. The Deepwater Horizon was the rig to which many BP Well Site Leaders wanted to be

assigned. In having to juggle the many requests for this assignment, BP’s Operations Advisor,

Keith Daigle, had to advise a BP supervisor to inform his employees that: “



           When BP needed help to control the Macondo well, it called upon Transocean’s DD II


g
  Because BP designated Daigle’s email as confidential, it is not publicly disclosed. However, a copy is attached
hereto. App. A-40: Email thread among Keith Daigle, George Gray, and Maniram Sankar, RE: Marianas WSL,
May 28, 2008, BP-HZN-2179MDL02486517–19. The                                    in question was           who wanted
to be transferred to a less stressful rig, like the Deepwater Horizon. He was, of course, eventually transferred to the
rig and was the                                      at the time of the explosion.


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and DD III to drill the relief wells, the Discoverer Enterprise for well intervention and crude oil

recovery, the Discoverer Inspiration for the cap and stack, and the Discover Clear Leader to

stand by for other possible interventions.

       To date, the following BP employees have testified favorably regarding the condition of

the rig and skill of the crew. As noted previously, their testimony is chronicled in Appendix B.

           x   John Baxter (Group Head of Engineering and Process Safety);
           x   Mark Bly (Executive Vice President of Safety and Operations and Team Leader,
               BP Internal Investigation);
           x   Martin Breazeale (Manager of Well Site Leader of the Future Program );
           x   Sir William Castell (Senior Independent Director and Chairman of the Safety,
               Ethics and Environment Assurance Committee);
           x   Brett Cocales (Operations Engineer);
           x   Gillian Cowlam (Engineering Manger for Sangachal Terminal / Member, BP
               Internal Investigation);
           x   Neil Cramond (Area Operations Manager, Na Kia Oil and Gas Production Facility
               / former SPU Marine Authority, Gulf of Mexico);
           x   Keith Daigle (Wells Operations Advisor, Gulf of Mexico);
           x   Michael Daly (Executive Vice President of Exploration);
           x   Scherie Douglas (Regulatory Compliance Team Leader);
           x   James Dupree (Senior Vice President for the Gulf of Mexico);
           x   Steven Flynn (Vice President of Health, Safety, Security and Environment);
           x   Cheryl Grounds (Chief Engineer of Process and Process Safety);
           x   John Guide (Drilling Engineer Team Leader, Angola / Former Wells Team
               Leader);
           x   Anthony Hayward (former Chief Executive Officer);
           x   Curtis Jackson (former Director of Health, Safety, Security and Environment,
               Gulf of Mexico);
           x   Kevin Lacy (former Vice President of Drilling and Completions, Gulf of Mexico);
           x   Lee Lambert (Well Site Leader / former Well Site Leader of the Future);
           x   Philip Earl Lee (Well Site Leader);
           x   Ian Little (Vice President of Wells, North Africa / former Wells Manager for
               Exploration and Appraisal Drilling, Gulf of Mexico);
           x   John Mogford (former Executive Vice President of Safety Operations);
           x   Patrick O’Bryan (Vice President of Wells, BP America / former Vice President of
               Drilling and Completions, Gulf of Mexico Deepwater);
           x   Vincent Price (Well Site Leader / Former Well Site Leader of the Future);
           x   David Rich (Wells Manager, Gulf of Mexico Deepwater);
           x   Angel Rodriguez (Marine Advisor);
           x   Murry Sepulvado (former Well Site Leader);
           x   Ronald Sepulvado (former Well Site Leader);
           x   John Shaughnessy (former Well Control Technical Authority, Gulf of Mexico);

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            x   David Sims (Operations Manager, Gulf of Mexico Deepwater);
            x   Cynthia Skelton (Vice President of Safety and Operational Risk, Gulf of Mexico /
                former Vice President of Health, Safety, Security and Environment and
                Engineering, Gulf of Mexico);
            x   Jonathan Sprague (Vice President of Organizational Capability for Global Wells
                Organization / former Drilling Engineering Manager, Gulf of Mexico);
            x   Doug Suttles (former Chief Operating Officer);
            x   Henry Thierens (former Vice President of Drilling and Completions Operations);
            x   Jay Thorseth (Vice President of Exploration and Appraisal, Angola / former
                Exploration Manager, Gulf of Mexico Deepwater);
            x   David Wall (Vice President of Risk, Learning, Health and Safety / former Vice
                President of Health, Safety, Security Environment and Integrity Management for
                Upstream);
            x   O. Kirk Wardlaw (Senior Negotiator for the Western Hemisphere / former Chief
                Land Negotiator, Gulf of Mexico);
            x   Norman Wong (Manager of Rig Audit Group); and
            x   Barbara Lowery-Yilmaz (former Technical Vice President of Drilling and
                Completions).

       The testimony of BP personnel simply does not support BP’s legal position or the

opinions of the “paid experts” BP’s attorneys have retained. What possible justification can BP

offer for its unwillingness to honor its commitments—its promises? What possible explanation

exists for the filing on April 20, 2011—the anniversary of the death of eleven men and injury to

scores more who fought the BP well and fire—of an amended complaint alleging that

Transocean and these men and women were willfully and consciously indifferent to the welfare

of people and the environment? What is the answer? Money. BP simply chooses to avoid its

contractual obligations with allegations of gross negligence that BP’s own contractors,

employees, managers, officers and directors do not support.

       B.       Halliburton employees praise the Deepwater Horizon and her crew.

       The experience of Halliburton rig-based personnel is similarly complimentary of the

Deepwater Horizon and her crew. Halliburton witnesses Paul Anderson (Service Supervisor III,

Gulf of Mexico), Kelly Gray (Senior Surface Data Logging Field Specialist / INSITE Specialist),

and Joseph Keith (Mud Logger) shared similar experiences and opinions regarding the

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Transocean rig crew.66 All testified that they never witnessed the crew act maliciously towards

the environment or other individuals, and none of these individuals ever saw any Transocean

employee on the Deepwater Horizon willfully inflict harm on any person or the environment.

Similarly, each agreed that no Transocean employee aboard the Deepwater Horizon wanted to

injure another person or the environment. Mr. Keith, who lived on the rig for almost eight years

and was on the rig on April 20, 2010, described the Transocean rig crew members as good

men.67 Mr. Keith testified that he was never placed in a situation aboard the rig where he

thought he should halt drilling operations, but believed the crew felt comfortable halting drilling

activities if appropriate. He personally knew drill crew team members Dewey Revette, Jason

Anderson, and Stephen Curtis and found each trustworthy and competent. Further, on the

evening of April 20, 2010, he did not witness any acts or omissions by these men that he would

classify as negligent.68

       C.      Cameron employees praise the Deepwater Horizon and her crew.

       Cameron Service Technician William LeNormand confirmed that Transocean made

safety a priority on its rigs. When he boarded a Transocean rig, the crew provided him with a

thorough and comprehensive orientation, which addressed safety and evacuation of the rig.

Based on his interaction with the crew, LeNormand found subsea crewmen to be knowledgeable

about blowout preventers, including their service and maintenance. He found that Transocean

made safety a priority on the rig, and was proactive in requesting maintenance assistance from

Cameron for BOPs.69

       D.      Third-party and government inspectors praise the Deepwater Horizon and
               her crew.

       Moreover, third parties onboard the rig for inspections also affirmed the capabilities of

the crew and condition of the rig and its equipment. Victor Martinez, a ModuSpec inspector


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described Subsea Supervisor Owen McWhorter as competent, professional, and very

knowledgeable about the Deepwater Horizon’s subsea equipment.70                 Another ModuSpec

surveyor, Alan Schneider, testified that during his two visits to the Deepwater Horizon he

participated in an orientation process, which included a safety briefing and a rig tour. Schneider

also was instructed that he had the authority to stop work if he saw an unsafe condition; however,

at no point did he witness such a condition.             Schneider indicated that the April 2010 rig

assessment performed by ModuSpec reflected that the Deepwater Horizon rated favorably

compared to other rigs surveyed by ModuSpec—both in the Gulf of Mexico and worldwide.71

David McKay, DNV’s Regional Chief Surveyor for MODUs, North American Region, similarly

testified that “the safety management system was well implemented, and the rig was in pretty

good condition, and the personnel were competent.”72

       MMS inspectors Robert Neal and Eric Neal also verified the rig’s condition and skill of

the crew members. Eric Neal described the rig as “one of the best” in terms of safety and

performance. He never observed any problems or issues with crew competency, and perceived

Transocean to be very safety conscious and focused on compliance with MMS regulations.73

Robert Neal described the safety culture as “good as any other rig.” During his February and

March 2010 inspections, he found nothing to cause him concern with either the condition of the

rig or the competency of the crew.74 Michael Saucier, the Department Regional Field Supervisor

for the MMS, testified that all testing and inspections conducted on the Deepwater Horizon were

found to be in compliance with regulations, no maintenance issues were ever raised and none of

his inspectors ever reported any safety issues.75

       Further, Lieutenant Commander Michael Odom, Chief of Inspections Division, Delaware

Bay, and former Chief of Prevention, Marine Safety Unit in Port Arthur, Texas for the U.S.


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Coast Guard, was one of three Coast Guard officers who personally conducted the July 2009

inspection of the Deepwater Horizon.         He testified that the Deepwater Horizon had no

outstanding discrepancies when they boarded the vessel or departed on July 27, 2009.

Specifically, Odom did not note any deficiencies or issues from a safety standpoint associated

with the (1) preventative maintenance system, (2) cranes, or (3) electrical equipment in

hazardous areas on July 27, 2009. The emergency generator was in satisfactory condition, and

the fire boundary doors were operating properly. As part of the inspection, a drill was performed

and completed to his satisfaction. Odom found the crew to be well-trained and competent and

affirmed that “[t]hey were expert in their ability to use the equipment and respond to the drill that

we initiated.” Indeed, Odom confirmed that the crew's “knowledge of the equipment on board

was exceptional” and agreed that the rig had an outstanding safety culture. As a result of the

July 2009 exam and inspection, Odom found the Deepwater Horizon to be seaworthy and fit for

route and service.76

       Moreover, Callan Brown, another member of the U.S. Coast Guard inspection team

onboard the Deepwater Horizon in July of 2009, was called to testify before the Joint Investigation

Team of the U.S. Coast Guard and Bureau of Ocean Energy Management, Regulation and

Enforcement (formerly the Minerals Management Service). In preparation for his testimony,

he emailed Odom and Jay Willimon, recalling that “the rig was in excellent condition and that the

fire drill went well" during the inspection.77 Notably, this inspection of the Deepwater Horizon

occured before the rig began its out of service period and also before the September 2009 BP Audit.

       Throughout the wide range of companies and individuals who worked on, visited,

inspected, and / or were responsible for ensuring the safety of the rig and its operations, none

testified to any condition or conduct that could give rise to so much as a plausible inference of


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gross negligence. The evidence demonstrates only that the Deepwater Horizon and her crew

operated consistently in a professional and safe manner.

       Lastly, as described above, BP has taken contrary positions vis-à-vis a co-owner of the

Macondo well, Anadarko, and its drilling contractor, Transocean. BP insists that Anadarko

perform its obligations under the contract despite pending allegations of                        and

                                                            , yet will not honor its promises to

Transocean under the Drilling Contract on that precise basis. BP’s transparent attempt to avoid

its obligations must fail in light of the uncontroverted testimony in the record.

III.   BP’s demand for contribution is in violation of the promises it made.

       As demonstrated, Transocean, its crew, and its vessel were not callous, wanton, or willful

in their actions leading to this tragic event. However, even if that issue were fairly in dispute, BP

contractually agreed to indemnify Transocean (and most other contractors at Macondo) for such

liabilities. Before addressing the issue of contractual indemnities, we first address BP’s claim for

“contribution”—that is, what BP’s public relations machine refers to as the “we should share in

the blame” campaign. It appears BP’s public relations and legal departments are not well

coordinated with regard to longstanding maritime law. The law is clear: A right of express

contractual indemnity overrides any alleged rights of contribution that would otherwise exist.

               Where one tortfeasor is entitled to indemnity from another, the
               right of the indemnity obligee is for indemnity and not for
               contribution, and the indemnity obligor is not entitled to
               contribution from the obligee for any portion of his indemnity
               obligation.78

The Supreme Court relied on the Uniform Contribution Among Tortfeasors Act (“UCTA”) in its

seminal maritime contribution decision, McDermott v. AmClyde, 511 U.S. 202 (1994), which

elaborated on the mechanics for applying contribution based on proportional fault in general

maritime law cases. McDermott’s “proportional share” approach did not affect the well-settled
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rule that express contractual indemnity overrides contribution.79 In simple terms, the contractual

agreements between the parties trump BP’s public relations effort at legal dodgeball.

IV.    OPA recognizes the enforceability of indemnity promises, including indemnity for
       the uncapped liability that arises upon a finding that an incident resulted from gross
       negligence.

       The vast majority of environmental loss claims filed after the BP spill are based on

provisions of OPA. As this Court has recently explained,

               Another obvious purpose of OPA was to set up a scheme by which
               a “Responsible Party” (typically the vessel or facility owner) was
               designated and made strictly liable (in most instances) for clean up
               costs and resulting economic damages. The intent is to encourage
               settlement and reduce the need for litigation. 33 U.S.C. §§ 2709,
               2710, 2713.80

As the Court indicated, both Section 2709 (recognizing a right of contribution) and Section 2710

(recognizing the enforceability of indemnity contracts) are significant to understanding how

OPA was intended to work. Responsible parties such as BP have a right to seek contribution

under OPA or other law, but those rights can also be overridden by indemnity agreements

between the parties, such as the one between BP and Transocean.

       Setting aside for the moment the issue of how maritime law may have previously treated

indemnity in the event of gross negligence (a matter we discuss, infra, in Section VII.B), Section

2710 made clear that Congress intended to allow indemnity agreements for “any liability” under

the Act. The term “any liability” includes the uncapped liability that the Act imposes in the

event the incident resulted from the gross negligence of a responsible party (or the gross

negligence of a “party pursuant to a contractual relationship with the responsible party”).81

       As this Court has recognized, OPA was adopted after the grounding of the Exxon Valdez.

OPA substantially increased the potential liability for owners of vessels and facilities.       It

provided that a much larger class of injured persons and businesses could recover than had been

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allowed to recover under prior maritime law and Robins Dry Dock. It provided liability caps, but

provided that those caps would be eliminated in the event the incident resulted from gross

negligence. Congress was obviously concerned about making sure that businesses could operate

in this new liability environment, and thus made it clear in Section 2710 that it is lawful for an

owner of a facility or vessel to obtain insurance and / or any other form of contractual indemnity

for the exposure it might face. Section 2710 makes it clear, for example, that the owner of an

oil-carrying vessel has the right to purchase liability insurance for the uncapped liability it will

face in the event of an oil spill resulting from gross negligence.h

         When Congress desires to prohibit indemnity in the event of gross negligence in OPA, it

does so expressly.82 “Where Congress includes particular language in one section of a statute but

omits it in another section of the same Act, it is generally presumed that Congress acts

intentionally and purposely in the disparate inclusion or exclusion.”83

         Since the indemnity agreement between Transocean and BP is enforceable by virtue of

OPA Section 2710, all of BP’s claims for contribution against Transocean are barred. This is but

one aspect of the promises BP and Transocean made to one another. This is not a situation

where Congress has legislated in the maritime context and left a gap with respect to a particular

issue, requiring the court to look to general maritime law to fill the gap. In OPA, Congress has

spoken to the precise public policy issue and has said that there can be contractual indemnity for


h
  Therefore, even if there were an issue as to whether the Drilling Contract’s reciprocal indemnities and risk
allocation would have been enforceable under pre-OPA maritime law, Section 2710 should govern. As the Court
has noted, general maritime law applies “to the extent it is not displaced by federal statute.” App. D-12: Order and
Reasons, Dkt. 3830, at 11. See, e.g., App. D-22: O & G Indus., Inc. v. Nat’l R.R. Passenger Corp., 537 F.3d 153,
165-67 (2d Cir. 2008) (provision in Amtrak Reform Act that “A provider of rail passenger transportation may enter
into contracts that allocate financial responsibility for claims” should be construed to preempt contrary state law or
state common law public policy prohibition against indemnity, and express contractual indemnity should be
enforced regardless of whether indemnitee was negligent or grossly negligent); App. D-23: Deweese v. Nat’l R.R.
Passenger Corp., 590 F.3d 239, 246-47 (3d Cir. 2009) (indemnification allowed notwithstanding sovereign
immunity defense under state law).


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any liability under the Act, which includes the uncapped OPA liability imposed in the event of

gross negligence. In sum, Congress has determined that there is no public policy against

contractual indemnity, even in the event of alleged gross negligence.

V.      Another broken promise: BP’s contribution claims are also barred by BP’s promise
        to defend Transocean.

        BP’s contribution claims are also a breach of BP’s contractual obligation “to defend”

Transocean.84 Indeed, BP has not simply failed to defend Transocean. Its lawyers are actively

prosecuting Transocean, accusing it and, most shamefully, the rig’s crew of negligence and/or

gross negligence. Even accepting for purposes of argument BP’s premise that it should not

ultimately be required to indemnify Transocean if Transocean is found liable for gross

negligence, BP has not simply reserved its rights and awaited the outcome of the plaintiffs’ case.

It has joined in—rather than defending Transocean against—the plaintiffs’ efforts to attempt to

prove that Transocean was negligent and/or grossly negligent. As a result, Transocean’s defense

costs continue to mount and are projected to exceed hundreds of millions of dollars.

        Defense and indemnity are separate concepts and separate promises in this contract.85

The duty to defend is a “‘specific obligation to assume, upon tender, the defense obligation and

costs of another.’”86 As the California Supreme Court explained in Crawford v. Weather Shield

Manufacturing, Inc.:

               A contractual promise to “defend” another against specified claims
               clearly connotes an obligation of active responsibility, from the
               outset, for the promisee’s defense against such claims. The duty
               promised is to render, or fund, the service of providing a defense
               on the promisee’s behalf—a duty that necessarily arises as soon as
               such claims are made against the promisee, and may continue until
               they have been resolved. This is the common understanding of the
               word ‘defend’ as it is used in legal parlance.87

When the allegations pled against the indemnitee fall within the scope of the duty to defend, the

obligation to defend arises.88
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       BP has recognized the applicability of this principle in contracts with other contractors at

Macondo.       Though BP’s contracts with                                               and

               exclude indemnity for gross negligence, they nonetheless provide that BP owes a

duty to defend—even in the face of allegations of gross negligence. Specifically:

       [f]or avoidance of doubt, if gross negligence or willful misconduct is alleged
       along with Negligence/Fault, the term “Indemnify” or “Indemnification” includes
       the duty to provide a full Defense even though gross negligence or willful
       misconduct are alleged and even though the Indemnitor is not obligated to pay
       any portion of an award of damages allocated to the Indemnitee’s gross
       negligence or willful misconduct.”89

Not only do these contracts demonstrate BP’s ability to exclude gross negligence from the scope

of its indemnity obligations when BP wishes to do so, it also affirms that BP understands its duty

to defend is distinct from its duty to indemnify. It would most certainly yield an absurd result if

the duty to defend survived allegations of gross negligence in a contract where indemnity for

gross negligence was specifically excepted, but not in one where it was expressly included. This

absurdity is apparently what BP proposes. When contrasted against the predominant legal

landscape favoring the duty to defend, Transocean respectfully requests that the Court reject

BP’s veiled attempt to avoid this obligation under the guise of pending investigations and

allegations.

VI.    BP cannot avoid its contractual promises by alleging that Transocean breached the
       Drilling Contract or that the vessel was unseaworthy and, indeed, BP owes
       Transocean charter hire for Macondo.

       BP appears to believe that it can avoid its indemnity obligations by alleging that

Transocean itself materially breached the Drilling Contract90 or that the vessel was

unseaworthy.91 While the parties could have provided in their contract that unseaworthiness or

breach of contract was a defense to indemnity, they did not do so. In fact, they did the very

opposite, clearly stating that indemnity was required even in the event of breach of contract or

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unseaworthiness. The contract defines the scope of the indemnity obligation to include any and

all claims “without limit and without regard to the cause or causes thereof, including . . . the

unseaworthiness of any vessel or any vessels (including the drilling unit), breach of

representation or warranty, expressed or implied, [or] breach of contract . . . .”92 Becker v.

Tidewater, Inc. involved a similar breach of contract / unseaworthiness defense to indemnity.

The party resisting indemnity contended:

               Tidewater’s proposed interpretation of the Blanket Time Charter
               would render meaningless Tidewater’s express assumption in
               Article III of the obligation to provide and maintain the
               REPUBLIC TIDE in a seaworthy condition. The only way to give
               effect to this provision is to conclude that Tidewater must live up
               to its basic obligations to maintain the vessel before it can take
               advantage of the indemnity language in Article XIV, i.e. render
               Tidewater’s seaworthiness obligation “effective rather than
               meaningless.”93

The district court rejected this outright: “Despite any negligence or unseaworthiness attributable

to Tidewater, the indemnity agreement is fully enforceable.”94 Any belief by BP that an alleged

violation of law constitutes a breach of contract by Transocean that negates the indemnity

obligation is similarly misplaced. In Tesoro Petroleum Corp. v. Nabors Drilling USA, Inc.,

Tesoro contended that Nabors had failed to provide proper well control equipment, breaching the

drilling contract, and, therefore, nullifying the indemnity agreement.95 The court disagreed and

explained: “An indemnity agreement ‘is an original obligation between the contracting parties

and independent of other agreements.’”96 A prerequisite to the remedy of excuse of performance

is that covenants in a contract must be mutually dependent promises.97 Because an indemnity

agreement is an independent covenant, Tesoro was not excused from performing under the

contract based on unsupported allegations that Nabors breached the contract.




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       Finally, BP also refused to pay approximately $11.7 million in invoices properly billed

by Transocean for use of the Deepwater Horizon under the Drilling Contract.98              Notably,

payments for many of these invoices are in excess of a year overdue. On or about December 15,

2010, BP stated it would not pay certain amounts invoiced “at this time” based on “developing

facts regarding the manner in which Transocean performed drilling operations on the Macondo

well.”99 BP entirely failed, however, to specify the precise factual and contractual grounds for its

dispute as to Transocean’s invoices. By way of example, Invoice 00011482 dates back to

February 2010 and is for drill pipe and pup joints. None of these tool rentals are at issue.

Indeed, this invoice was already overdue at the time of the Macondo blowout.             Similarly,

Invoices 00011504, 11056, and 00011509 pertain to reimbursable charges such as rentals,

transportation costs, and tool rental charges. None pertain to “the manner in which Transocean

performed drilling operations on the Macondo well.”

       BP’s legal position has been to stonewall Transocean in hopes of avoiding, or at least

delaying for tactical litigation purposes, payment on yet another established obligation to

Transocean. BP, however, once again takes a different view when BP is not the paying entity.

On February 25, 2011, BP’s Chief Procurement Officer, Bob Talbott, issued a letter urging BP’s

prime response effort contractors to                                     Ironically, BP states that

“                                                         ” and




                                                30
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                                                         ”100 BP should follow its own advice;

however, as it has not, Transocean respectfully requests that the Court award the outstanding

invoice balance to Transocean.

VII.   BP cannot avoid its contractual promises by alleging that Transocean was grossly
       negligent.

       A.     The public policy against an exculpatory exemption from liability for injury
              to the other contracting party is not applicable to a true indemnity
              agreement whereby one contracting party agrees to indemnify the other
              contracting party with respect to liability for an injury caused to a third
              party who is not a party to the contract.

       Contract law generally recognizes a public policy prohibition against “red letter”

contractual clauses whereby one party to the contract seeks to exculpate itself in the event its

gross negligence in the performance of the contract causes injury to the other contracting party.

Such an exemption or release from liability, even if phrased in terms of “indemnity” or “hold

harmless,” has been held to be against public policy.101 The three cases cited when BP refused

Transocean’s demand for defense and indemnity are examples of this rule.102 Presumably BP

carefully considered this exception, as the contracts entered into by BP with Transocean and

many other drilling contractors and oil field service providers that include indemnity for gross

negligence (referenced in Statement of Undisputed Material Facts) were executed long after

these three cases were decided, and some even after BP refused to indemnify Transocean.

       The distinction between a true indemnity (which can provide indemnity for gross

negligence) and an exculpatory clause (which cannot avoid liability for gross negligence) is well

established in the law. Comment b to Restatement (Second) of Contracts § 195 explains: “The

rule stated in this Section does not apply to an agreement by a third person [i.e., BP] to

indemnify a party [i.e., Transocean] against liability in tort.”      The cases recognize this


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distinction, although using slightly different terminology, referring to the injured party as the

“third” party, to distinguish the injured party from the contracting parties (the indemnitor

providing indemnity, and the indemnitee receiving indemnity). The key difference is that, in the

case of a contractual exemption from liability, the issue is whether the injured contracting party

should be compensated for his injury at all. In the true indemnity case, the injured party (who is

not a party to the contract) will be compensated, and the issue is which of the contracting parties

will bear the loss. In that context, indemnity for gross negligence is allowable.103

       This fundamental tenet has been recognized in the learned treatise of Williston on

Contracts:

               Indemnification agreements are unenforceable as violative of
               public policy only to the extent that they purport to indemnify a
               party for damages flowing from the intentional causation of injury
               so that indemnification may be permitted when grossly negligent
               conduct was alleged and found.104

       In examining all of the inconsistent positions taken by BP and its attorneys since the

tragic Macondo event, this is perhaps the most extreme example. It is disingenuous enough to

use inapplicable, 1982 case law as a basis for avoiding a contract BP entered into in 1998; but

BP goes further. BP reveals its true character to Transocean and the oilfield industry when, in

June 2010, BP refused to honor its promise to Transocean while continuing to enter into similar

contracts with other contractors in which the same, apparently illusory, obligations are

undertaken by BP. At best, BP is simply unaware that its attorneys have been taking inconsistent

legal positions based on the same type of contract. At worst, BP is taking advantage of the

complexity of the MDL to perpetrate the use of its contracts as a sword and a shield against its

service providers throughout the world. Regardless of BP’s motivation, Transocean asks the

Court to enforce BP’s contractual indemnity obligations in favor of Transocean as Transocean


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voluntarily has done with regard to its indemnity obligations in favor of BP. Transocean honors

its contractual obligations. Why can BP not do the same?

        Under the Drilling Contract, it is clear that Transocean is not seeking exculpation or

exemption from liability for an injury to BP. Rather, it is seeking to enforce a true indemnity

provision whereby BP agreed to indemnify Transocean for alleged injuries caused to third

persons which, it is beyond dispute, will be compensated by someone. That takes this dispute

out of the realm of the public policy concerns raised by BP. The only issue in this dispute is

which of the contracting parties will make that compensation. This dispute was settled between

BP and Transocean years ago when they agreed to the terms of the Drilling Contract.

        B.       Maritime cases support enforceability of an express contractual promise for
                 indemnity for liability to a third party, even in the event gross negligence is
                 alleged.

        We have not found a maritime law case which discusses the distinction between a true

indemnity provision and the type of exculpatory exemption of liability involved in the cases cited

by BP.i In a maritime case involving an OCS gas well, Houston Exploration Co. v. Halliburton

Energy Services, Inc., 269 F.3d 528 (5th Cir. 2001), the well owner sued a contractor for

damages sustained by the well owner from a blowout. This Court refused to enforce the

agreement’s exculpatory clause on the ground that the contractor had been grossly negligent, but

the Court of Appeals reversed, ruling that the finding of gross negligence was clearly erroneous,

and held the indemnity valid and enforceable. The case did not involve indemnity for liability to



i
 In an interlocutory order in App. D-60: Energy XXI, GOM, LLC v. New Tech Eng’g, 2011 WL 1458638, at *12-15
2011 U.S.Dist. LEXIS 41223, at *37-45 (S.D. Tex. Apr. 15, 2011), the court held unenforceable an “exemption
from liability” for gross negligence where one party to the contract sought to be exempted from tort liability for an
injury to the other party to the contract (the contractor’s alleged gross negligence had caused a workstring to
become stuck, which required a $9 million recompletion effort). New Tech Engineering filed a motion for
certification of order for interlocutory appeal on October 13, 2011. App. D-61: New Tech Engineering, L.P.’s
Motion for Certification of Order for Interlocutory Appeal, Case 4:10-cv-00110 (S.D. Tex.), Dkt. 53.


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a third party, and the indemnity provision at issue did not expressly cover indemnity for gross

negligence.105

       What is clear is that indemnity for third party claims for compensatory damages

notwithstanding gross negligence has a long history in maritime law. Insurance is, of course, a

form of indemnity contract and maritime courts have long held that the insurer owes an

obligation to pay for the loss, even if the loss was caused by the insured’s gross negligence.106

BP itself is seeking indemnity coverage as an additional insured under insurance policies issued

to Transocean.    BP is claiming, in essence, that it has a right to insurance indemnity,

notwithstanding that the plaintiffs in the underlying litigation accuse BP of gross negligence. BP

is certainly not waiting for a “full investigation” before it attacks Transocean’s insurance.

Moreover, BP’s Macondo settlement agreements with Weatherford and Moex provide for

indemnity for third party claims for                             even if there is a determination of
                 107
                       Discovery in this case also reveals that BP entered into contracts providing

gross negligence indemnity after the Macondo incident, including                         by way of

amendment;108 the Constellation II;109 the              110
                                                              and the Enterprise, in which prior

indemnities encompassing gross negligence were not reduced in scope.111

       Recent cases within the Fifth Circuit are consistent with the position that indemnity for an

injury to a third party which expressly covers gross negligence should be enforced.112 In Becker

v. Tidewater, Tidewater sought contractual indemnity from Baker Hughes, and Baker Hughes

opposed indemnity on the ground that Tidewater was grossly negligent. The indemnity language




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in the contract did not expressly cover gross negligence.j At no point in the briefs did either

party argue that the contract would not be enforceable as a matter of public policy if it had

expressly provided for indemnity for gross negligence. To the contrary, the premise in the

briefing was that gross negligence was not covered by the indemnity because there was no

express provision in the contract. Moreover, nothing in the Court of Appeals' opinion speaks to

the issue of whether an express indemnity for an injury to a third party is unenforceable as a

matter of public policy.k


j
 When the case first went up to the Fifth Circuit, Baker Hughes’s brief argued that the issue was: “Does the contract
between the employer and the vessel owner exclude, by its silence, any indemnity obligations for injuries caused by
the vessel owner’s gross negligence as a matter of law?” App. D-73: Brief of Baker Hughes et al., 2002 WL
32180622, at *3 (emphasis added). In response, Tidewater argued that there was no triable issue of gross
negligence. App. D-74: Brief of Tidewater Inc. et al., 2002 WL 32180621, at *10-11. Tidewater did not argue that
the contract should be construed as providing indemnity for gross negligence even though silent on the issue. The
Fifth Circuit reversed the judgment and sent the case back to the trial court for further proceedings, including a
determination of whether any party had been grossly negligent. App. D-75: Becker v. Tidewater Inc., 335 F.3d 376,
394 n.11 (5th Cir. 2003). Further proceedings and a second appeal and remand followed: App. D-76: Becker v.
Tidewater Inc., 405 F.3d 257 (5th Cir. 2005). Finally, after retrial, the district court found the parties 55% and 45%
at fault, found that Tidewater was not grossly negligent, and therefore ordered Baker Hughes to indemnify
Tidewater. App. D-44: Becker v. Tidewater Inc., 2007 WL 3231655 at *11 (W.D. La. Nov. 17, 2007). The case
then went up to the Fifth Circuit a third time. As Baker Hughes’s attorneys argued in their brief: “In Becker I, this
Court expressly required determination of the defendants’ potential gross negligence at the retrial of this matter.
This issue arose during the first appeal with regard to Baker Hughes’s argument that because gross negligence was
not expressly included within the scope of the Charter’s indemnity provision, Baker Hughes could not be required
to indemnify Tidewater for Tidewater’s own gross negligence.” App. D-77: Brief of Baker Hughes et al., 2008 WL
7295642, at 29 (emphasis added). Baker Hughes’s counsel referred to “the well-settled rule that indemnity for
gross negligence will not be enforced unless it is expressly set forth in the indemnity agreement at issue.” App. D-
77: Id. at 29 n.96 (emphasis added). Baker Hughes argued that the reason Tidewater could not obtain indemnity
was because there was no express indemnity for gross negligence: “[A]s gross negligence was not expressly
included in the Charter’s indemnity language, public policy dictates Tidewater cannot be indemnified for its gross
negligence in causing Plaintiffs injuries.” App. D-77: Id. at 14 (emphasis added). In its brief, Tidewater argued
that the district court’s finding of no gross negligence should be affirmed. Once again, neither party argued that the
contract would or would not be enforceable as a matter of public policy if the contract had expressly provided for
indemnity for gross negligence. The only reason there was an issue was because there was no express provision in
the contract.
k
  On the third appeal, the Fifth Circuit affirmed the finding that Tidewater was not guilty of gross negligence and
that it was therefore entitled to indemnity. The court began its discussion of the issue by commenting: “It is
undisputed that Baker Hughes escapes indemnity if Tidewater’s actions leading to Seth’s injuries were grossly
negligent.” App. D-6: Becker v. Tidewater, Inc., 586 F.3d 358, 367 (5th Cir. 2009). This was not a holding that,
even if the contract had expressly provided indemnity for gross negligence, it would have been unenforceable as a
matter of public policy. That issue had not been argued or briefed by either side and was not before the court
because the contract in Becker, unlike the BP–Transocean contract, did not expressly provide for indemnity for
gross negligence.


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        C.       BP refuses to honor its promise to indemnify Transocean for civil fines and
                 penalties.

        BP’s cross-complaint in the United States’ action seeks contribution only with respect to

BP’s OPA obligations (removal costs and damages).113                     Transocean has cross claimed for

indemnity in the Limitation Act proceeding and in the action brought by the United States. The

pleadings therefore put at issue the full scope of BP’s duty to defend and indemnify Transocean,

including its obligation to defend and indemnify Transocean on the claims brought by the United

States for per-barrel civil penalties under Section 1321(b)(7) and civil fines that may

subsequently be asserted.

        Indemnification for civil penalties is allowable because the Supreme Court has held that

civil penalties under the CWA are primarily “remedial” in nature and are “analogous to

traditional civil damages.”114

        That public policy is not violated by allowing contractual indemnity of civil penalties

finds further support in CWA Section 1321(h), which provides in relevant part: “The liabilities

established by [Section 1321] shall in no way affect any rights which . . . the owner or operator

of a vessel . . . may have against any third party whose acts may in any way have caused or

contributed to such discharge . . . .” These “rights” are clearly contribution and indemnity.

        Under controlling precedent, Section 1321(h) allows a claim for equitable indemnity with

respect to CWA civil penalties.l Montauk’s holding is relevant to contractual indemnity. If



l
 App. D-16: Montauk Oil Transp. Corp. v. Tug El Zorro Grande, 54 F.3d 111, 113-14 (2d Cir. 1995). The
Department of Justice has cited with approval Montauk’s holding that indemnifiable liabilities include civil
penalties. App. D-79: 22 U.S. Opinions Office of Legal Counsel 141, 1998 WL 1180050, at *15 (July 22, 1998).
App. D-80: Tug Ocean Prince, Inc. v. United States, 436 F. Supp. 907 (S.D.N.Y. 1977), reached a contrary result,
but its reasoning was rejected by the Second Circuit in Montauk so it is no longer good law. In United States v. Tex-
Tow, Inc., decided before Montauk, the Seventh Circuit noted the equitable indemnification issue that would
ultimately be faced in the case and said in dicta that the Tug Ocean Prince district court decision seemed consistent
with the purposes of the CWA, but expressly avoided making any holding on the issue: “We do not, however, here


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courts will allow a party who has been held liable for civil penalties to seek equitable indemnity

for those civil penalties, it clearly mandates that there can be no public policy prohibition against

express contractual indemnity for those same civil penalties. In both instances, the party subject

to civil penalties is seeking to transfer the cost of those penalties to another party. In the case of

equitable indemnity, the cost is transferred after the fact to a party whose fault contributed to the

discharge. In the case of an express contractual indemnity, the costs are transferred beforehand

to a party who contractually agreed to provide that indemnity as part of an arms-length

transaction.

        Congress made the statutory basis for equitable indemnity under the CWA, 33 U.S.C.

§ 1321(h), inapplicable to an OPA-covered incident. Subsections (f), (g), (h), and (i)—the spill

response subsections—were not repealed, but do not apply “with respect to any incident for

which liability is established under section 1002 of this Act.”115 But this does not in any way

undermine Transocean’s claim for express contractual indemnity. While Congress has made

subsection (h) inapplicable to OPA-covered incidents, it has essentially replaced “equitable

indemnity” with a right of contribution under OPA Section 2709. More importantly, Transocean

is not relying on a statutory preservation of the right to “equitable” indemnity or contribution. It

has an express contractual right of indemnity.

        CWA Section 1321(h) recognizes a right of equitable indemnity in the absence of any

contractual relationship. OPA Section 2709 recognizes a right of contribution in the absence of

any contractual relationship. Here is an example of a situation where equitable indemnity or

contribution would apply. Vessel A collides with vessel B, causing a spill from vessel A (for



decide the question of ultimate liability.” App. D-81: United States v. Tex-Tow, Inc., 589 F.2d 1310, 1315 (7th Cir.
1978). Therefore, Montauk is the controlling precedent on the public policy issue.


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which the owner/operator of vessel A is responsible). Can vessel A seek reimbursement of

cleanup expenses, civil fines and damages from vessel B if the collision was caused by vessel B?

In this hypothetical situation, an equitable right of indemnity is preserved under the CWA and a

right of contribution is preserved under OPA. In the present case, no statutorily authorized right

of equitable indemnity or contribution is necessary because Transocean has an express

contractual indemnity from BP. The law of contracts provides Transocean’s right and the

remedy.

       Cases considering whether equitable indemnity for civil penalties under Section 1321(h)

is allowable as a matter of public policy are relevant on the issue of whether there is a public

policy against indemnity. If there is no public policy against equitable indemnity for civil fines,

as Montauk establishes, there can be no public policy against an express contractual indemnity

for the same civil fines.

       OPA Section 2710 provides additional statutory support for Transocean’s claim for

express contractual indemnity of civil penalties. Section 2710(a) does not prohibit any form of

contractual indemnity, under OPA or any other law. It does not say that contractual indemnity is

allowable for liability only under OPA, and not for liability under any other federal law. Its plain

language, and its obvious intent, is that nothing in “this Act” should be considered as prohibiting

any indemnity agreement for any liability “this Act” creates. This plainly includes liability for

civil penalties. The liability for civil penalties which OPA enacted into law in Title IV is a

liability “under this Act.” The Act contains nine titles. Title I created the new oil spill liability

regime for responsible parties. Title IV, among other things, imposed liability for per-barrel civil

penalties. This Court has recently noted that “the Senate Report provides that the Act ‘builds

upon section 311 of the Clean Water Act to create a single Federal law providing cleanup


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authority, penalties, and liability for oil pollution.’”116 When Section 2710 speaks of liability

under “this Act” it is thus speaking of this “single Federal law” including the per-barrel civil

penalty provisions which OPA added to 33 U.S.C. § 1321(b)(7).m

         Moreover, other courts have allowed indemnity for civil penalties assessed under other

environmental statutes.n Indemnity for civil fines is also standard practice in maritime coverage.


m
   Significantly, Section 2710(a) does not say that nothing in the Act prohibits indemnity for “any liability under this
Title”—i.e., liability of responsible parties for response costs and damages imposed by Title I of OPA. It refers to
“any liability under this Act.” This was clearly a purposeful distinction. In some sections OPA refers to “this
title,” in others it refers to “this Act.” It was the OPA law which created and imposed the new per barrel civil
penalties.
n
  App. D-83: USG Corp. v. Brown, 1997 WL 89229, at *8 (N.D. Ill. Feb. 25, 1997) (indemnity allowed for civil
penalty assessed under Resource Conservation and Recovery Act); App. D-84: United States v. Gen. Dynamics
Corp., 755 F. Supp. 720, 724 (N.D. Tex. 1991) (indemnity claim allowed for civil penalties assessed under a Texas
state environmental air quality law implementing the Clean Air Act); App. D-85: United States v. Thorson, 300 F.
Supp. 2d 828, 833 (W.D. Wis. 2003) (indemnity could be allowed for civil penalties under section 1319(d) of CWA,
but insurance contract’s express exclusion for “punitive” damages interpreted as excluding indemnity for civil fines
and penalties); App. D-86: Scholastic Inc. v. M/V Kitano, 362 F. Supp. 2d 449, 457 (S.D.N.Y. 2005) (although exact
type of civil penalties not clear from opinion, court upholds contractual indemnity for all “losses, damages,
liabilities, civil penalties and expenses”); see also App. D-87: United States v. City of Twin Falls, Idaho, 806 F.2d
862, 867 (9th Cir. 1986), cert. denied, 482 U.S. 914 (1987), overruled on another ground by Crawford Fitting Co. v. J.T.
Gibbons, Inc., 482 U.S. 437, 442 (1987) (holding that district court had ancillary jurisdiction over third-party claim
of city against sewage treatment plant contractor for indemnity for civil penalties arising from discharge of
pollutants from plant in violation of federal water pollution standards and pollution discharge permit). There is a
line of cases under the Clean Air Act (CAA) which refused to imply a cause of action for equitable indemnification
under that Act. Transocean submits that those cases are not on point first because the statutes are different. The
CAA does not have a provision similar to Section 1321(h) of the CWA which undisputedly allowed a claim for
equitable indemnification for response costs and damages. The issue in the CWA cases such as Montauk was
whether Section 1321(h) applied not only to equitable indemnity for response costs and damages, but also to
equitable indemnity for civil penalties. In the CAA cases, in contrast, the issue was whether the courts should create
any right of equitable indemnity where the statute provided none. See, e.g., App. D-88: Beerman Realty Co. v.
Alloyd Asbestos Abatement Co., 653 N.E.2d 1218, 1220 (Ohio Ct. App. 1995) (“The statutes neither grant a right of
indemnification nor prohibit it.”). Moreover, the CAA cases recognize that express contractual indemnity is
allowable. In United States v. J & D Enterprises of Duluth, after reviewing the Minnesota state law cases that would
not support recognizing a claim for implied equitable indemnity of civil penalties, the court noted:

                  Also supportive of our conclusion, that Minnesota law provides J & D with no
                  substantive basis for an indemnity claim against St. Paul, is the absence of any
                  operative provision for contractual indemnity for J & D’s own wrongdoing. . . .
                  [I]f a party is to seek indemnification for its own negligence, there must be an
                  express provision in the contract to indemnify the indemnitee for liability
                  occasioned by its own negligence; such an obligation will not be found by
                  implication.

App. D-89: United States v. J & D Enterprises of Duluth, 955 F. Supp. 1153, 1160 (D. Minn. 1997) (internal quotes
and citations omitted). In our situation, of course, the express contract not only provides for reciprocal indemnities
for negligence, but also expressly provides for indemnity for “fines” and “penalties.”


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Most maritime environmental liability coverage is provided through protection and indemnity

(P&I) clubs.117 Indemnity for fines is also routinely provided in maritime cases in which a ship

is seized on account of potential liability for a fine, and release of the ship is obtained through

the posting of an indemnity bond.118 Indeed, the CWA itself allows for the posting of a bond or

other surety to allow departure of a vessel that owes or may owe a civil penalty. 33

U.S.C.1321(b)(12). Any holding that fines are not subject to indemnity would jeopardize this

essential maritime practice.

                                         CONCLUSION

        Major international corporations, like private citizens, must honor their promises. If BP,

a major oil company with legions of attorneys is allowed to simply ignore contracts which have

been in existence for decades, what does this say about our legal system? What does this bode

for the thousands of contractors working throughout the Gulf Coast?

        How is safety enhanced if BP, the operator which designs the well, chooses all the

contractors, and controls the flow and analysis of well information and, thus, controls the risks, is

allowed to walk away from contractually agreed allocation of those risks? What does this bode

for the safety of thousands of workers throughout the Gulf Coast?

        Transocean respectfully requests that the Court require BP to honor its contractual

promises.    Transocean requests that its motion for partial summary judgment be granted,

specifically that:

    x   The express indemnity promises made by BP in the Drilling Contract override any
        alleged rights of BP to contribution;
    x   The indemnity provisions agreed to by BP in the Drilling Contract are valid and
        enforceable against the OPA statutory backdrop, including indemnity for the uncapped
        liability that arises upon a finding that an incident resulted from gross negligence;
    x   BP’s contribution claims are barred by BP’s contractual promise to defend Transocean,
        and BP must defend Transocean against environmental wellhead pollution claims
        pending against it that arise from the Macondo blowout;
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   x   BP cannot avoid its contractual promise by alleging that Transocean breached the
       Drilling Contract or that the Deepwater Horizon was unseaworthy;
   x   BP cannot avoid its contractual promise by alleging that Transocean or its employees
       were grossly negligent;
   x   BP is required to honor its promise to indemnify Transocean for CWA (and any other)
       civil penalties arising from pollution or contamination;
   x   BP is required to honor its promise to pay the unpaid invoices referenced herein;
   x   As a result of BP’s failure to honor its promises in each of the above areas, BP be
       required to reimburse Transocean its attorneys’ fees, costs, and expenses incurred in
       defending environmental claims for which BP is contractually obligated and those
       incurred in forcing BP to honor its contractual promises;
   x   And all other relief that the Court deems just and appropriate.


Respectfully submitted,

By:     /s/ Steven L. Roberts                        By:     /s/ Kerry J. Miller
Steven L. Roberts (Texas, No. 17019300)              Kerry J. Miller (Louisiana, No. 24562)
Rachel Giesber Clingman (Texas, No. 00784125)        Frilot, L.L.C.
Kent C. Sullivan (Texas, No. 19487300)               1100 Poydras Street, Suite 3700
Sutherland Asbill & Brennan LLP                      New Orleans, Louisiana 70163
1001 Fannin Street, Suite 3700                       Telephone: (504) 599-8169
Houston, Texas 77002                                 Facsimile: (504) 599-8154
Telephone: (713) 470-6100                            Email: kmiller@frilot.com
Facsimile: (713) 654-1301
Email: steven.roberts@sutherland.com,                               -and-
rachel.clingman@sutherland.com,
kent.sullivan@sutherland.com,                        By:     /s/ Brad D. Brian.
                                                     Brad D. Brian (California, No. 79001)
                                                     Allen M. Katz (California, No. 054933)
                                                     Munger Tolles & Olson LLP
                                                     355 South Grand Avenue, 35th Floor
                                                     Los Angeles, California 90071
                                                     Telephone: (213) 683-9100
                                                     Facsimile: (213) 683-5180, (213) 683-4018
                                                     Email: brad.brian@mto.com,
                                                     allen.katz@mto.com

                                                                    -and-




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                                                     By:    /s/ Edwin G. Preis, Jr.
                                                     Edwin G. Preis, Jr. (Louisiana, No. 1070)
                                                     Richard J. Hymel (Louisiana, No. 20230)
                                                     Preis & Roy PLC
                                                     102 Versailles Boulevard, Suite 400
                                                     Lafayette, Louisiana 70501
                                                     Telephone: (337) 237-6062
                                                     Facsimile: (337) 237-9129
                                                     -and-
                                                     601 Poydras Street, Suite 1700
                                                     New Orleans, Louisiana 70130
                                                     Telephone: (504) 581-6062
                                                     Facsimile: (504) 522-9129
                                                     Email: egp@preisroy.com, efk@preisroy.com

Of Counsel:
John M. Elsley (Texas, No. 0591950)
Royston, Rayzor, Vickery & Williams LLP
711 Louisiana Street, Suite 500
Houston, Texas 77002
Telephone: (713) 224-8380
Facsimile: (713) 225-9945
Email: john.elsley@roystonlaw.com

Daniel O. Goforth (Texas, No. 08064000)
Goforth Geren Easterling LLP
4900 Woodway, Suite 750
Houston, Texas 77056
Telephone: (713) 650-0022
Facsimile: (713) 650-1669
Email: dangoforth@goforthlaw.com


                                                     Counsel for Transocean

                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been electronically filed
through the Court’s CM/ECF system and/or LexisNexis File & Serve, in accordance with Pretrial
Order No. 12, which will send a notice of electronic filing to all counsel of record on this 1st day
of November, 2011.

                                                     /s/ Kerry J. Miller

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1
   App. A-1: BP at a Glance | About BP, http://www.bp.com/sectiongenericarticle.do?categoryId=3&contentId=
2006926 (last visited Oct. 9, 2011); App. A-2: BP Global – About BP – Who We Are,
http://www.bp.com/subsection.do?categoryId=4&contentId=2006741 (last visited Oct. 9, 2011).
2
   Although the Drilling Contract is designated as confidential a copy is publicly available in conjunction with
Transocean’s 10-Q filing last August. App. A-3: Drilling Contract, BP-HZN-MBI00021460–999, Article 25.1, at
BP-HZN-MBI00021489                 (italics       and        underlining          added),         available         at
http://www.sec.gov/Archives/edgar/data/1451505/000145150510000069/exhibit10_1.pdf.
3
  App. A-3: Id., Article 24.2, at BP-HZN-MBI00021488–89 (italics and underlining added).
4
   Compare App. A-3: Id., Article 22.3, at BP-HZN-MBI00021486 (excepting from BP’s indemnity obligation
damage to in-hole equipment if it results solely from contractor’s gross negligence); with id., Article 24.1, at BP-
HZN-MBI00021488 (limiting contractor indemnity exposure to $15 million per incident for pollution arising from
drilling unit while off location or underway); with id., Article 25.1, at BP-HZN-MBI00021489 (defining scope of
indemnity obligations to survive gross negligence unless otherwise “specifically limited to certain clauses elsewhere
in this contract”).
5
  App. A-3: Id., Article 21.1, at BP-HZN-MBI00021485.
6
  App. A-3: Id., Article 24.1, at BP-HZN-MBI00021488.
7
  App. A-3: Id., Article 22.1, at BP-HZN-MBI00021485–86.
8
  The letter contains confidential information. Accordingly, a copy is attached hereto but not filed publicly. App.
A-6: Letter Dated May 10, 2010, from Keith McDole (counsel for Transocean) to Richard Godfrey (counsel for BP).
9
  The letter contains confidential information. Accordingly, a copy is attached hereto but not filed publicly. App.
A-7: Letter Dated June 25, 2010, from Richard Godfrey (counsel for BP) to Keith McDole (counsel for Transocean).
10
   Anadarko designated this letter as confidential. Accordingly, a copy is attached hereto, but not provided publicly.
App. A-8: Letter Dated July 9, 2010, from Kirk Wardlaw (BP) to Jim Bryan and Robert Reeves (Anadarko), APC-
SHS1-007–008.
11
   App. A-8: Id. at APC-SHS1-008.
12
   Though BP designated the contract as confidential, it is publicly available. App. A-15: Contract for Gulf of
Mexico Strategic Performance Unit Offshore Well Services between BP Exploration and Production, Inc. and
Halliburton Energy Services, Inc., BPM-09-00255, BP-HZN-2179MDL00055567–6112, Article 19.7, at BP-HZN-
2179MDL00055594–95,                          available                     at                    http://phx.corporate-
ir.net/External.File?item=UGFyZW50SUQ9NDAxMzU3fENoaWxkSUQ9NDA4NzQ3fFR5cGU9MQ==&t=1 (last
visited Oct. 24, 2011).
13
   BP designated this contract as confidential. Accordingly, a copy is attached hereto, but not provided publicly.
App. A-17: Contract for Gulf of Mexico Strategic Performance Unit Offshore Well Services between BP
Exploration and Production, Inc. and M-I L.L.C., BPM-09-00209, BP-HZN-2179MDL02883043–198, Section 2,
Article 19.7, at BP-HZN-2179MDL02883072–73.
14
   BP designated this contract as confidential. Accordingly, a copy is attached hereto, but not provided publicly.
App. A-18: Contract for Gulf of Mexico Strategic Performance Unit Offshore Well Services between BP
Exploration and Production, Inc. and Schlumberger Technology Corporation, BPM-09-00247, BP-HZN-
2179MDL02882284–2768, Section 2, Article 19.7, at BP-HZN-2179MDL02882312–13.
15
   This contract is confidential. Accordingly, a copy is attached hereto, but not provided publicly. App. A-19:
Contract for Well Services between BP America Production Company and Weatherford International, Inc., BPM-
04-00186, Gulf of Mexico Offshore Operations, WFT-MDL-00000930–1160, Section 2, Article 19.7, at WFT-
MDL-00000957.
16
   BP designated this contract as confidential. Accordingly, a copy is attached hereto, but not provided publicly.
App. A-20: BP–                     Offshore Daywork Contract, BP-HZN-2179MDL02846809–48, Article 1012(c), at
BP-HZN-2179MDL02846828.
17
   BP designated these contracts as confidential. Accordingly, copies are attached hereto, but not provided publicly.
See App. A-21: Drilling Contract between BP Exploration & Production Inc. and                            for Provision
and Operation of a Mobile Offshore Drilling Unit, Contract No. BPM-08-00186, BP-HZN-2179MDL03289015–
402, Section 2, Article 16.8, at BP-HZN-2179MDL03289050–51; App. A-22: Drilling Contract between BP
Exploration & Production Inc. and                       for Provision and Operation of a Mobile Offshore Drilling
Unit, Contract No. BPM-08-00892, BP-HZN-2179MDL03288575–9014, Section 2, Article 16.8, at BP-HZN-
2179MDL03288611.


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18
   The letter previously cited contains confidential information and, accordingly, is attached hereto but not publicly
filed. Because of confidentiality provisions in the contracts themselves, and as a result of BP designating contracts
with other subcontractors as “confidential,” the contracts are not publicly filed though copies are attached hereto.
See App. A-7: Letter Dated June 25, 2010, from Richard Godfrey (counsel for BP) to Keith McDole (counsel for
Transocean); App. A-11: BP American Production Company Offshore Drilling / Workover / Completion Contract
(with Transocean for the Discoverer Enterprise), Article 12.8; App. A-20: BP–                      Offshore Daywork
Contract, BP-HZN-2179MDL02846809–48, Article 1012(c), at BP-HZN-2179MDL02846828; and App. A-23:
Drilling Rig Operation and Maintenance Services Contract between BP America Production Company and
                  Gulf of Mexico Deepwater Projects                        Contract No. BPA-02-06141, BP-HZN-
2179MDL03241488–554, Article 14.01.05, at BP-HZN-MCL03241508 and Amendment 14, BP-HZN-
2179MDL03241611–15, at BP-HZN-2179MDL03241612.
19
   As a result of BP’s decision to designate the settlement agreements as highly confidential, the agreements cannot
be publicly disclosed. App. A-24: Settlement Agreement Between BP and MOEX, BP-HZN-2179MDL03198916–
35, Articles 5.1 and 5.2(a)(vi), at BP-HZN-2179MDL03198922–23; App. A-25: Settlement Agreement Between BP
and Weatherford, BP-HZN-2179MDL03241693–714, Articles 5.4(d) and 5.8, at BP-HZN-2179MDL03241700 and
BP-HZN-2179MDL03241704; App. A-46: Settlement Agreement Between BP and Anadarko, BP-HZN-
2179MDL04585671–5703, Articles 5.1(a) and 5.3(a)(iv), at BP-HZN-2179MDL04585678 and BP-HZN-
2179MDL04585679–80.
20
   App. A-26: International Association of Drilling Contractors (IADC) Offshore Daywork Drilling Contract – U.S.
(Revised April 2003) – Article 911(a).
21
    App. A-27: American Association of Professional Landmen (AAPL) Model Form of Offshore Deepwater
Operating           Agreement,         AAPL-810          (2007),        Article        22.5        available        at
http://www.ocsadvisoryboard.org/documents/AAPL%20DWOA%20ModelForm2007%20FINAL.doc (last visited
Oct. 9, 2011).
22
   App. A-28: OCS Advisory Board – Members, http://www.ocsadvisoryboard.org/index-1.html (last visited Oct. 7,
2011).
23
    Although the JOA is designated as confidential, it is publicly available in connection with SEC filings.
Accordingly, a copy is attached hereto and provided publicly. App. A-29: Ratification and Joinder of Operating
Agreement Macondo Prospect (“JOA”), ANA-MDL-000030610–APC-HEC1-000001840, Article 22.5, at APC-
HEC1-000001741, available at http://secfilings.nyse.com/filing.php?doc=1&attach=ON&ipage=7018483&rid=23
(last visited Oct. 21, 2011).
24
   BP has designated the contracts with its other contractors at Macondo as confidential; therefore, they cannot be
publicly filed. App. A-30: Master Service Contract between BP America Production Company and
                           Contract No. BPM-07-01217, BP-HZN-2179MDL03015557–606, Article 14.01.01, at BP-
HZN-2179MDL03015566; App. A-31: Master Consulting Services Contract between BP America Production
Company and                                                              Contract No. BPM-09-01304, BP-HZN-
2179MDL03292008–45, Article 14.01.01, at BP-HZN-2179MDL03292018; App. A-32: Master Service Contract
between BP America Production Company and                                                         Contract No. BPM-
10-04020, BP-HZN-2179MDL03291954–2005, Article 14.01.01, at BP-HZN-2179MDL03291964.
25
     See, e.g., App. A-33: Oil Spill Commission, Chief Counsel’s Report, Executive Summary,
http://www.oilspillcommission.gov/sites/default/files/documents/C21462-404_CCR_Executive_Summary.pdf (last
visited Oct. 11, 2011); App. B-32: Dep. Doug Suttles (BP, former Chief Operating Officer of Exploration and
Production), 46:7-105:22 (May 19-20, 2011); App. B-110: Dep. Greg Walz (BP, Drilling Engineer Team Leader)
224:23-225:10 (Apr. 21-22, 2011)
26
     App. A-34: Christopher Helman, In His Own Words, FORBES (May 18, 2010), available at
http://www.forbes.com/2010/05/18/oil-tony-hayward-business-energy-hayward_print.html (last visited Oct. 9,
2011).
27
   App. B-15: Dep. Anthony Hayward (BP, former Chief Executive Officer), 551:12-559:12 (June 6 and 8, 2011).
28
   See, e.g., App. A-35: Letter Dated May 10, 2010 from Benjamin D. Wilcox (Executive Vice President and
Director Marine and Energy, Alliant) to the Honorable Robert Menendez (U.S. Senator), available at
http://www.epw.senate.gov/public/index.cfm?FuseAction=Files.View&FileStore_id=10957910-fdf4-4673-8463-
468d131035c5 (last visited Oct. 13, 2011).
29
   App. A-36: Letter Dated May 12, 2010, from Paul King (Director, INDECS) to the Honorable Robert Menendez
(U.S.                                Senator),                              available                               at


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http://epw.senate.gov/public/index.cfm?FuseAction=Files.View&FileStore_id=c15e510c-4edb-44e5-b6aa-
3cfebf371323 (last visited Oct. 13, 2011).
30
   App. A-37: Letter Dated May 11, 2010, from John Lloyd (Chairman and CEO, Lloyd & Partners) to the
Honorable Robert Menendez (U.S. Senator).
31
   App. D-1: Brief of Appellees BP et al. in Fina, Inc. v. ARCO, 200 F.3d 266 (5th Cir. 2000), 1999 WL 33621574,
at *33-34 (quoting Mid-Continent Supply Co. v. Conway, 240 S.W.2d 796, 804 (Tex. Civ. App.—Texarkana 1951,
writ ref’d n.r.e.), quoting Mo. K. & T. Ry. v. Carter, 68 S.W. 159, 164 (Tex. 1902)) (emphasis added). See App. D-
2: Fidelity & Deposit Co. of Md. v. Conner, 973 F.2d 1236, 1241 (5th Cir. 1992) (public policy is “narrow
exception” to general rule of liberty of contract, “an exception to be applied cautiously and only in plain cases
involving dominant public interests”).
32
   App. B-15: Dep. Anthony Hayward (BP, former Chief Executive Officer), 565:25-566:24. (June 6 and 8, 2011).
33
   App. B-15: Id. at 566:15-24; see also App. B-36: Dep. O. Kirk Wardlaw (BP, former Chief Land Negotiator, Gulf
of Mexico) 191:10-192:3 (June 9-10, 2011).
34
   App. B-15: Dep. Anthony Hayward (BP, former Chief Executive Officer), 568:16-569:11 (June 6 and 8, 2011).
35
   App. A-38: Letter Dated October 3, 2011, from Christopher J. Esbrook (BP counsel) to Daniel Goforth
(Transocean counsel).
36
   App. B-15: Dep. Anthony Hayward (BP, former Chief Executive Officer), 566:15-24 (June 6 and 8, 2011); App.
B-36: Dep. O. Kirk Wardlaw (BP, former Chief Land Negotiator, Gulf of Mexico), 191:10-192:3 (June 9-10, 2011);
see also App. B-111: Dep. Skip Clark (Halliburton / Sperry Sun, former Senior Account Representative) 243:16-
244:3; 249:5-10 (July 29, 2011).
37
   App. D-3: FED. R. CIV. P. 56(a).
38
   App. D-4: Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (quoting Lujan v. Nat’l Wildlife Fed’n,
497 U.S. 871 (1990); Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986); Davis v. Chevron
U.S.A., Inc., 14 F.3d 1082 (5th Cir. 1994); and Hopper v. Frank, 16 F.3d 92 (5th Cir.1994) (internal citations and
quotes to omitted)).
39
   App. D-4: Id. at 1076 (emphasis added) (quoting Armstrong v. City of Dallas, 997 F.2d 62 (5th Cir. 1993)).
40
   App. D-5: Strachan Shipping Co. v. Dresser Indus., Inc., 701 F.2d 483, 486 (5th Cir. 1983); see App. D-6: Becker
v. Tidewater, Inc., 586 F.3d 358, 369 (5th Cir. 2009) (“The interpretation of a contractual indemnity provision is a
question of law . . . A maritime contract containing an indemnity agreement . . . should be read as a whole and its
words given their plain meaning unless the provision is ambiguous.”) (internal quotations and citations omitted)).
41
   App. D-7: Pretrial Order No. 41 (Case Management Order No. 3), Dkt. No. 4083.
42
   App. A-39: Transocean Fleet Update Report (July 13, 2011), http://www.deepwater.com/fw/main/Fleet-Status-
Report-58.html (last visited Oct. 7, 2011).
43
   Attached hereto in Appendix C are a compilation of documents illustrating the staunch condition of the rig and
competency of its crew. Because BP has designated these documents as confidential, they are attached hereto, but
not disclosed publicly. App. C-1: Annual Individual Performance Assessment of Brett Cocales, BP-HZN-
2179MDL00470609-0613; App. C-2: Email from Angel Rodriguez to John Guide, Brett Cocales, et al., RE:
Deepwater Horizon’s Rig Audit close out report status, Mar. 30, 2010, BP-HZN-2179MDL00006057; App. C-3:
Email from Angel Rodriguez to Paul Johnson, John Guide and Brett Cocales, RE: Audits Reviewed and Updated,
Feb. 22, 2010, BP-HZN-2179MDL0002012-2013; App. C-4: Email thread among Keith Daigle, Maniram Sankar
and George Gray, RE: Marianas WSL, May 28, 2008, BP-HZN-2179MDL02486517-6519; App. C-5: Email from
Tim Burns to Rory Mcneil, James Reed, Murry Sepulvado, Ronald Sepulvado, Deepwater Horizon Foreman, et al.,
RE: Tiber Performance, June 19, 2009, BP-HZN-2179MDL01309142; App. C-6: Horizon Rig Contract Extension,
approved Apr. 6, 2004, BP-HZN-2179MDL02378626-8627; App. C-7: Email thread among Andy Inglis, David
Eyton and Bob Smith, RE: GoM Rig Papers, Mar. 20, 2005, BP-HZN-2179MDL02368314-8315; App. C-8: GoM:
Deepwater Horizon Drilling Rig Commitment, dated Mar. 25, 2005, BP-HZN-2179MDL023483-3846; App. C-9:
Email thread among Harry Thierens, Jay Thorseth, David Sims, Ian Little and David Rainey, RE: Good work, Nov.
1, 2007, BP-HZN-MBI00040725; App. C-10: Allegations, BP-HZN-2179MDL03085148-5155; App. C-11: Email
thread between David Sims and Ian Little, RE: Update on TO Performance, July 17, 2007, BP-HZN-MBI00037507-
7508; App. C-12: Email thread among Callan Brown, Michael Odom and Jay Williamson, RE: Deepwater Horizon
Investigation, HCG161-041962.
44
   App. B-2: Dep. Mark Bly (BP, Executive Vice President of Safety and Operations / Team Leader, BP Internal
Investigation), 660:15-661:18 (Feb. 17-18, 2011).
45
   App. B-2: Id. at 661:6-8.


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46
   App. B-6: Dep. Gillian Cowlam (BP, Engineering Manger for Sangachal Terminal / Member, BP Internal
Investigation), 109:1-19 (June 7, 2011).
47
   App. B-27: Dep. Ronald Sepulvado (BP, former Well Site Leader), 476:8-15 (Mar. 10-11, 2011).
48
   App. B-27: Id. at 468:14-476:7; App. B-26: Dep. Murry Sepulvado (BP, former Well Site Leader), 530:11-535:9
(May 11-12, 2011); App. B-14: Dep. John Guide (BP, Drilling Engineer Team Leader, Angola / former Wells Team
Leader), 485:23-490:6 (May 9-10, 2011).
49
   App. B-27: Dep. Ronald Sepulvado (BP, former Well Site Leader), 468:14-476:23; App. B-26: Dep. Murry
Sepulvado (BP, former Well Site Leader), 530:11-536:11; App. B-14: Dep. John Guide (BP, Drilling Engineer
Team Leader, Angola / former Wells Team Leader), 485:23-490:15.
50
   App. B-27: Dep. Ronald Sepulvado (BP, former Well Site Leader), 465:10-14; 468:4-13.
51
   App. B-27: Id. at 468:14-476:15.
52
   App. B-14: Dep. John Guide (BP, Drilling Engineer Team Leader, Angola / former Wells Team Leader), 197:10-
17; 482:14-491:19 (May 9-10, 2011).
53
   App. B-5: Dep. Brett Cocales (BP, Operations Engineer), 461:25-462:11; 485:5-486:8; and 487:10-488:19 (Apr.
25-26, 2011).
54
   App. B-25: Dep. Angel Rodriguez (BP, Marine Advisor), 134:2-23; 135:23-149:2; 153:6-11; and 193:4-9 (July
29, 2011).
55
   App. B-25: Id. at 170:12-171:8; 179:4-13; and 193:4-9.
56
   App. A-3: Drilling Contract, BP-HZN-MBI00021460–999, Article 18.2, at BP-HZN-MBI00021482–83.
57
   See, e.g., App. B-13: Dep. Cheryl Grounds (BP, Chief Engineer of Process and Process Safety), 350:5-22 (May 4,
2011); App. B-20: Dep. Ian Little (BP, Vice President of Wells, North Africa / former Wells Manager for
Exploration and Appraisal Drilling, Gulf of Mexico), 383:17-384:8 (June 9-10, 2011); App. B-29: Dep. David Sims
(BP, Operations Manager, Gulf of Mexico Deepwater), 477:18-478:22 (Apr. 6-7, 2011) (unaware of any
performance concerns with Transocean and describing the crew as skilled, knowledgeable, and trustworthy); App.
B-30: Dep. Cynthia Skelton (Vice President of Safety and Operational Risk, Gulf of Mexico / former Vice President
of Health, Safety, Security and Environment and Engineering, Gulf of Mexico), 513:14-514:6 (May 25-26, 2011);
App. B-31: Dep. Jonathan Sprague (BP, Vice President of Organizational Capability for the Global Wells
Organization / former Vice President of Health, Safety, Security and Environment and Engineering, Gulf of
Mexico), 511:8-512:19 (Mar. 21-22, 2011) (never advised of problems or informed that the rig was operating in an
unsafe manner or the crew was incompetent); App. B-32: Dep. Doug Suttles (BP, former Chief Operating Officer of
Exploration and Production), 753:16-754:4 (May 19-20, 2011); App. B-33: Dep. Henry Thierens (BP, former Vice
President of Drilling and Completions Operations), 425:1-426:17 (June 9-10, 2011); App. B-37: Dep. Norman
Wong (BP, Manager of Rig Audit Group), 312:6-313:7 (June 13-14, 2011); App. B-21: Dep. John Mogford (BP,
former Executive Vice President of Safety Operations), 255:23-258:22 (June 28-29, 2011); App. B-22: Dep. Patrick
O’Bryan (BP, Vice President of Wells, BP America / former Vice President Drilling & Completions and
Interventions, Gulf of Mexico Deepwater), 22:17-23:22; 480:14-481:7; 482:25-483:6 (July 14-15, 2011) (Deepwater
Horizon was the best-performing rig in BP's fleet, both from a drilling performance standpoint and a safety
standpoint); App. B-16: Dep. Curtis Jackson (BP, former Director of Health, Safety, Security and Environment, Gulf
of Mexico), 175:5-24 (July 21, 2011); App. B-11: Dep. James Dupree (BP, Senior Vice President for the Gulf of
Mexico), 389:15-390:6; 393:22-394:2 (June 16-17, 2011) (believed the crew was “quite professional and did a good
job”); App. B-1: Dep. John Baxter (BP, Group Head of Engineering and Safety), 43:6-15 (June 21-22, 2011)
(unaware of any evidence that would support BP’s allegations that Transocean acted with indifference or willful disregard
for the safety of others or the environment); App. B-35: Dep. David Wall (BP, Vice President of Risk, Learning,
Health and Safety / former Vice President of Health, Safety, Security and Environment and Integrity Management
for Upstream), 119:23-120:14 (June 27-28, 2011) (spoke highly of the crew and noted that they died trying to fight
and shut in the well); App. B-34: Dep. Jay Thorseth (Vice President of Exploration and Appraisal, Angola / former
Exploration Manager, Gulf of Mexico Deepwater), 303:21-304:16 (Sept. 20, 2011); App. B-9: Dep. Michael Daly
(BP, Executive Vice President of Exploration), 9:5-18 (Sept. 21-22, 2011); App. B-4: Dep. Sir William Castell (BP,
Senior Independent Director / Chairman of the Safety, Ethics and Environment Assurance Committee), 287:16-21
(June 22-23, 2011); App. B-15: Dep. Anthony Hayward (BP, former Chief Executive Officer), 541:2-18 (June 6 and
8, 2011); and App. B-38: Dep. Barbara Lowery-Yilmaz (BP, former Technical Vice President of Drilling and
Completions) 412:20-413:9 (July 26, 2011).
58
   App. B-22: Dep. Patrick O’Bryan (BP, Vice President of Wells, BP America / former Vice President Drilling &
Completions and Interventions for Gulf of Mexico Deepwater) 22:17-23:15; 482:25-483:25; and 484:20-25 (July
14-15, 2011).

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59
   App. B-15: Dep. Anthony Hayward (BP, former Chief Executive Officer), 541:2-15 (June 6 and 8, 2011).
60
   App. B-15: Id. at 539:10-14; 540:3-8.
61
   App. B-15: Id. at 542:5-16.
62
   App. B-15: Id. at 545:20-546:2; 569:20-570:17.
63
   App. B-4: Dep. Sir William Castell (BP, Senior Independent Director / Chairman of the Safety, Ethics and
Environment Assurance Committee) 285:10-286:25; 287:16-21 (June 22-23, 2011).
64
   App. B-32: Dep. Doug Suttles (BP, former Chief Operating Officer, Exploration & Production), 753:5-754:18;
759:9-19; 795:4-14 (May 19-20, 2011).
65
   App. B-29: Dep. David Sims (BP, Operations Manager, Gulf of Mexico Deepwater) 382:24-384:5 (Apr. 6-7,
2011); App. B-22: Dep. Patrick O’Bryan (BP, Vice President of Wells, BP America / former Vice President Drilling
& Completions and Interventions, Gulf of Mexico Deepwater), 17:1-11, 22:17-23:22 (July 14-15, 2011).
66
   See App. B-39: Dep. Paul Anderson (Halliburton, Service Supervisor III, Gulf of Mexico), 452:24-453:15 (Apr.
27-28, 2011); App. B-42: Dep. Kelly Gray (Halliburton, Senior SDL Field Specialist / INSITE Specialist), 532:22-
533:13 (Apr. 14-15, 2011) (describing the crew as skilled and knowledgeable and testifying that he never witnessed
any of the Transocean crew perform their jobs negligently); App. B-43: Dep. Joseph Keith (Halliburton, Mud
Logger), 306:1-307:15 (Mar. 28, 2011).
67
   App. B-43: Dep. Joseph Keith (Halliburton, Mud Logger), 45:4-7; 307:25-308:2 (Mar. 28, 2011).
68
   App. B-43: Id. at 148:10-22; 186:23-189:15; and 303:15-307:15.
69
   App. B-66: Dep. William LeNormand (Cameron, Senior Field Service Technician), 87:14-90:20; 91:20-92:11;
121:15-122:4; and 126:5-128:14 (June 21-22, 2011).
70
   App. B-59: Dep. Victor Martinez (ModuSpec, Subsea Surveyor), 270:3-12 (Apr. 14-15, 2011).
71
   App. B-61: Dep. Alan Schneider (ModuSpec, Surveyor), 33:11-34:10; 219:25-220:6; 370:22-374:18 (June 23-24,
2011).
72
   App. B-58: Dep. David McKay (Det Norske Veritas, Regional Chief Surveyor for MODUs, North American
Region), 100:23-101:22; 124:7-10 (May 11, 2011).
73
   App. B-51: Dep. Eric Neal (MMS / BOEMRE, Production Inspector), 131:7-132:6; 132:20-24 (July 21, 2011).
74
   App. B-52: Dep. Robert Neal (MMS / BOEMRE, Drilling Rig Inspector), 168:19-169:16; 175:20-25; 177:11-
178:2; 178:23-180:9; 184:21-25 (July 19, 2011).
75
   App. B-54: Dep. Michael Saucier (MMS / BOEMRE, Deputy Regional Supervisor for Field Operations, New
Orleans), 314:20-316:25 (July 27-28, 2011).
76
   App. B-56: Dep. Michael Odom (U.S. Coast Guard, Chief of Inspections Division, Delaware Bay, Philadelphia,
PA / former Chief of Prevention, Marine Safety Unit, Port Arthur, TX) 11:22-12:8; 17:13-21; 146:4-147:1; 149:1-
12; 150:4-19; 153:5-24; 155:8-17; 156:24-160:4; 160:17-161:21; 162:13-164:6; and 166:19-167:8 (Oct. 11, 2011).
77
   App. C-12: Email thread among Callan Brown, Michael Odom and Jay Williamson, RE: Deepwater Horizon
Investigation, HCG161-041962.
78
   App. D-8: Uniform Contribution Among Tortfeasors Act (“UCTA”) § 1(f) (1955 Revised Act).
79
   App. D-9: Boykin v. China Steel Corp., 73 F.3d 539, 542 (4th Cir. 1996) (“any changes McDermott may have
made to the law of indemnity in admiralty we do not think affect an indemnity obligation . . . imposed . . . by virtue
of a written agreement.”); App. D-10: Cargill Ferrous Int’l Div., etc. v. M/V Princess Margherita, 2001 WL
1426678, at *1 n. 1 (E.D. La. Nov. 13, 2001) (“Actions for contractual indemnity would not be barred by
AmClyde.”); App. D-11: Mayer v. Cornell Univ., 1995 WL 94575, at *2 (N.D.N.Y. Feb. 27, 1995) (“Nothing in
McDermott compels the conclusion that contractual indemnification is voided by operation of the proportional share
approach.”).
80
   App. D-12: Order and Reasons, Dkt. 3830, at 21.
81
   App. D-13: 33 U.S.C. § 2704(c)(1). Section 2710 does not expressly state that indemnity agreements are
“authorized” or “permitted.” Rather, it states that “[n]othing in this Act prohibits” indemnity agreements. Several
cases have interpreted the statutory language as “permitting” or “authorizing,” rather than simply not prohibiting.
App. D-14: In re Petition of Settoon Towing LLC, 722 F. Supp. 2d 710, 714 (E.D. La. 2010) ("OPA permits
indemnification agreements between responsible parties ...") (emphasis added); App. D-15: Seaboats, Inc. v. Alex C
Corp., 2003 WL 203078, at *10 (D. Mass. Jan. 30, 2003) (referring to “the OPA’s endorsement of indemnification
agreements at § 2710.” (emphasis added). See also App. D-16: Montauk Oil Transp. Corp. v. Tug El Zorro Grande,
54 F.3d 111, 113-14 (2d Cir. 1995) (holding that a similar section of the CWA reading “The liabilities established
by this section shall in no way affect any rights...” did not just preserve existing law, but rather meant that the Act
was “specifically providing for indemnity”). Section 2710 was modeled on similar language in CERCLA, App. D-
17: 42 U.S.C. § 9607(e)(1) (second sentence). Numerous CERCLA cases hold that this language authorizes or

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permits indemnity agreements for any liability the law creates, and creates a right to enter into such indemnity
agreements. See, e.g., App. D-18: Joslyn Mfg. Co. v. Koppers Co., 40 F.3d 750, 754 (5th Cir. 1994) (the statute
“specifically recognize[s] the enforceability of indemnification agreements which allocate environmental liability
among responsible parties.”); App. D-19: Harley Davidson, Inc. v. Minstar, Inc., 41 F.3d 341, 342-43 (7th Cir.
1994), cert. denied, 514 U.S. 1036 (1995) (the statute “appears to authorize precisely such agreements.”); App. D-
20: United States v. Hardage, 985 F.2d 1427, 1433 (10th Cir. 1993) (“responsible parties may not altogether transfer
their CERCLA liability, [but] they have the right to obtain indemnification for that liability.”); App. D-21: Beazer
E., Inc. v. Mead Corp., 34 F.3d 206, 211 (3d Cir. 1994).
82
   See App. D-24: Oil Pollution Act of 1990, Pub. L. No. 101-380, 104 Stat. 484, tit. VIII § 8102(e)(1990). (allowing
officers and trustees of the TAPS Liability Fund to be indemnified, but providing that there can be no indemnity for
either gross negligence or willful misconduct); see also App. D-25: 33 U.S.C. § 2716(f)(1) (excusing a guarantor
from direct liability if the responsible party engaged in willful misconduct, but not in the event of gross negligence).
83
   App. D-26: Russello v. United States, 464 U.S. 16, 23 (1983) (internal quotations and citations omitted).
84
   App. A-3: Drilling Contract, BP-HZN-MBI00021460–999, Articles 21.2, 22.3, 22.4, 23.1-23.3, 24.2 and 25.1, at
BP-HZN-MBI00021485–89.
85
   App. D-27: Westchester Surplus Lines Ins. Co. v. Maverick Tube Corp., 590 F.3d 316, 322 (5th Cir. 2009)
(Missouri law) (“A duty to defend arises if the complaint merely alleges facts that give rise to a claim that could
potentially be within the policy’s coverage. . . . [T]he duty to defend is broader than an insurance company’s duty to
indemnify . . . . [A]n insurer may have a duty to defend but not a duty to indemnify.”); App. D-28: Westlake Vinyls,
Inc. v. Goodrich Corp., 518 F. Supp. 2d 918, 936 (W.D. Ky. 2007) (Ohio law) (“A duty to defend is separate and
distinct from the duty to indemnify.”); App. D-29: MetroPCS Wireless, Inc. v. Telecomm. Sys., Inc., 2009 WL
3418581, at *5 (D. Md. Oct. 20, 2009) (New York law); App. D-30: Sprint Commc’ns Co., L.P. v. W. Innovations,
Inc., 640 F. Supp. 2d 1122, 1123 (D. Ariz. 2009) (Arizona law) (“the duty to defend differs from indemnification,
because the duty to defend arises at the earliest stages of litigation and generally exists regardless of whether the
party to whom the duty is owed is ultimately found liable. . . . In contrast, indemnification only requires the
indemnitor reimburse the indemnitee after the latter’s legal obligation is established.” (citations and internal
quotations omitted)); App. D-31: English v. BGP Int’l, Inc., 174 S.W.3d 366, 371 n.4, 372 (Tex. App.—Houston
[14th Dist.] 2005, rev’d and remanded) (“courts readily distinguish the duty to defend and the duty to indemnify and
often find the duty to defend even where this is no finding of liability or duty to indemnify.” (emphasis in original));
App. D-32: Gen. Motors Corp. v. Am. Ecology Envtl. Servs. Corp., 2001 WL 1029519, at *4 (N.D. Tex. Aug. 30,
2001) (Michigan law) (“duty to defend . . . arises from the language in the Agreement.”); App. D-33: Crawford v.
Weather Shield Mfg, Inc., 44 Cal. 4th 541, 558 (2008) (“The duty ‘to defend’ expressly set forth in . . . [the] contract
thus clearly contemplated a duty that arose when such a claim was made, and was not dependant on whether the
very litigation to be defended later established [indemnitor’s] obligation to pay indemnity.”). Cf. App. D-34:
Morella v. Bd. of Comm’rs of Port of New Orleans, 888 So.2d 321, 326, 328 (La. App. 4 Cir. 2004).
86
   App. D-35: MT Builders, L.L.C. v. Fisher Roofing, Inc., 197 P.3d 758, 764 n.3 (Ariz. Ct. App. 2008) (quoting
Stein and Sato, Advanced Analysis of Contract Risk-Shifting Provisions: Is Indemnity Still Relevant?, 27
CONSTRUCTION LAW 5, 9 (Fall 2007)). Transocean is relying on state common law throughout the United States on
this issue, as we have been unable to find specific maritime cases on point. As this Court recognizes, the general
maritime law is itself “an amalgam of traditional common law rules, modifications of those rules, and newly created
rules.” App. D-12: Order and Reasons, Dkt. 3830, at 11.
87
   App. D-33: Crawford, 44 Cal. 4th 541, 553-54 (2008).
88
   App. D-36: Estate of Bradley ex rel. Sample v Royal Surplus Lines Ins. Co., 647 F.3d 524, 529 (5th Cir. 2011)
(Mississippi law); App. D-37: Sullen v. Mo. Pac. R. Co., 750 F.2d 428, 433 (5th Cir. 1985) (Louisiana law) (“In
determining whether an indemnitor or insurer is obligated to defend an indemnitee or insured under the terms of an
indemnity or insurance contract, the Louisiana courts look exclusively to the pleadings in light of the contract
provisions; the ultimate outcome of the case has no effect upon the duty to defend.”); App. D-32: Gen. Motors
Corp., 2001 WL 1029519, at *7 (Michigan law) (“an insurer’s duty to defend an insured is measured by the
allegations in a plaintiff’s pleadings [ ] The court sees no reason why . . . [this same principle] should not apply in
the context of an indemnitor’s duty to defend under an indemnity contract.”); App. D-28: Westlake Vinyls, Inc., 518
F. Supp. 2d at 936 (Ohio law) (“An indemnitor’s duty to defend under an indemnity contract is subject to the same
standard as an insurer’s duty to defend under an insurance contract. An insurer is required to defend where
allegations in a complaint are potentially within the policy coverage or where some doubt exists about coverage.”
(citation and internal quotes omitted; emphasis in original)); App. D-38: Lafarge N. Am., Inc. v. K.E.C.I. Colo., Inc.,
250 P.3d 682, 687-688 (Colo. App. 2010) (Colorado law). See, e.g., App. D-39: Foster v. Subsea Int’l, Inc., 101 F.

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Supp. 2d 454, 458 (E.D. La. 1998) (Louisiana law); App. D-40: Jackson v. Tenneco Oil Co., 623 F. Supp. 1452,
1460 (E.D. La. 1985) (Louisiana law).
          In English v. BGP International, Inc., the indemnitee (English) sought a declaration that the indemnitor
(BGP) was required to defend English on the claims asserted in a series of lawsuits for negligence and trespass
alleging that English began mineral exploration activities on the underlying plaintiffs’ land without receiving the
required consents. BGP argued both that its duty to defend could not be decided until the lawsuits had been
concluded and that it had no obligation to defend because under the contractual language it had no duty to defend
the negligence claims. The Court disagreed, stating first that “[g]iving reasonable effect to every word used in the
contract, and understanding the separate and distinct nature of the two duties, we hold that BGP agreed to defend
English—separate and apart from its duty to indemnify—from suits falling within the terms outlined in the
contract.” The Court then rejected BGP’s argument that the negligence claims relieved it of a duty to defend:
“Assuming arguendo that the pleadings sufficiently allege separate negligence causes of action, that still does not
relieve BGP of its duty to defend English in the underlying lawsuits. When some theories of liability fail to give rise
to the duty to defend but other theories do, the party should be required to provide a defense.” App. D-31: English,
174 S.W.3d at 373 (Texas law).
89
   BP designated these contracts as confidential. Accordingly, copies are attached hereto, but not provided publicly.
See, e.g., App. A-30: Master Service Contract between BP America Production Company and
                 Contract No. BPM-07-01217, BP-HZN-2179MDL03015557–606, Article 14.01.01, at BP-HZN-
2179MDL03015566; App. A-31: Master Consulting Services Contract between BP America Production Company
and                                                     Contract No. BPM-09-01304, BP-HZN-2179MDL03292008–
45, Article 14.01.01, at BP-HZN-2179MDL03292018; App. A-32: Master Service Contract between BP America
Production Company and                                                        Contract No. BPM-10-04020, BP-HZN-
2179MDL03291954–2005, Article 14.01.01, at BP-HZN-2179MDL03291964.
90
   App. D-41: BP Parties’ Counter-Complaint, Cross-Complaint and Third Party Complaint Against Transocean and
Claim in Limitation, Dkt. 2074, Claim I, at 20-23; App: D-42: BPXP’S Cross-Claim and Third Party Complaint
against Transocean, Dkt. 2075, ¶¶ 65-68.
91
   App. D-41: BP Parties’ Counter-Complaint, Cross-Complaint and Third Party Complaint Against Transocean and
Claim in Limitation, Dkt. 2074, Claim II, at 23-24; App. D-42: BPXP’S Cross-Claim and Third Party Complaint
against Transocean, Dkt. 2075, ¶¶ 69-72.
92
    App. A-3: Drilling Contract, BP-HZN-MBI00021460–999, Article 25.1, at BP-HZN-MBI00021489. See, e.g.,
App. D-43: La Esperanza de P.R., Inc. v. Perez y Cia. De P.R., Inc., 124 F.3d 10, 20 (1st Cir. 1997) (“[W]e cannot
agree that a material breach of contract is tantamount in this case to gross negligence” for purposes of determining
enforceability of exculpatory clause in ship repair contract); App. D-22: O & G Indus., Inc. v. Nat’l R.R. Passenger
Corp., 537 F.3d 153, 163-65 (2d Cir. 2008) (rejecting “material breach of contract” defense to indemnity claim);
App. D-44: Becker v. Tidewater, Inc., 2007 WL 3231655, at *11 (W.D. La. Nov. 14, 2007), aff’d in part, rev’d in
part, 586 F.3d 358 (5th Cir. 2009).
93
    App. D-45: Baker Hughes Reply Memorandum in Support of Motion for Summary Judgment, at 4, Becker v.
Tidewater, Inc., 2005 WL 2891044 (emphasis in original).
94
     App. D-44: Becker v. Tidewater, Inc., 2007 WL 3231655, at *11. The Fifth Circuit affirmed on this issue:
“Baker cites Marquette Transportation Co. v. Louisiana Machinery Co., 367 F.3d 398 (5th Cir. 2004) for the
proposition that a breach of a contract containing an indemnity agreement serves to invalidate the indemnity
agreement. . . . Marquette does not hold that breach of a contract necessitates invalidation of an indemnity
agreement included therein.”
95
   App. D-46: Tesoro Petroleum Corp. v. Nabors Drilling USA, Inc., 106 S.W.3d 118, 127 (Tex. App.—Houston
[1st Dist.] 2002, pet. denied).
96
   App. D-47: Joseph Thomas, Inc. v. Graham, 842 S.W.2d 343, 346 (Tex. App.—Tyler 1992, no writ).
97
   App. D-48: Hanks v. GAB Bus. Serv., 644 S.W.2d 707, 708 (Tex. 1982).
98
    The invoices contain confidential information and, therefore, are not publicly filed. App. A-41: Outstanding
Invoices Issued to BP by Transocean.
99
   BP has designated this letter as confidential. Accordingly, a copy is attached hereto, but will not be filed publicly.
App. A-42: Letter Dated December 15, 2010, from Sam Yousef (BP, PSCM Specialist, Drilling Rigs) to Roddie
MacKenzie (Transocean, Marketing Manager – North America).
100
     BP has designated this letter as confidential. Accordingly, a copy is attached hereto, but will not be filed
publicly. App. A-43: Letter Dated February 25, 2011, from Bob Talbott (BP, Chief Procurement Officer, Gulf
Coast Restoration) to Transocean Offshore DW DRLG Inc.

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101
    App. D-49: RESTATEMENT (SECOND) OF CONTRACTS § 195(1) (“A term exempting a party from tort liability for
harm caused intentionally or recklessly is unenforceable on grounds of public policy.”); App. D-50: 15 CORBIN ON
CONTRACTS § 85.18 (2003 ed.) (citing the Restatement and stating: “The general rule of exculpatory agreements is
that a party may agree to exempt another party from tort liability if that tort liability results from ordinary
negligence. Courts do not enforce agreements to exempt parties from tort liability if the liability results from that
party’s own gross negligence, recklessness, or intentional conduct.” (emphasis added)); App. D-51: 8 R. LORD,
WILLISTON ON CONTRACTS §19:20 (4th ed. May 2011) (Indemnification agreements are unenforceable as violative
of public policy only to the extent that they purport to indemnify a party for damages flowing from the intentional
causation of injury so that indemnification may be permitted when grossly negligent conduct was alleged and
found.” (emphasis added)); App. D-52: Louisiana Civil Code art. 2004 (“Any clause is null that, in advance,
excludes or limits the liability of one party for intentional or gross fault that causes damage to the other party.”).
102
    App. D-53: Todd Shipyards Corp. v. Turbine Serv., Inc., 674 F.2d 401, 411 (5th Cir. 1982) (ship repair contract
governed by maritime law); App. D-54: Smith v. Golden Triangle Raceway, 708 S.W.2d 574, 576 (Tex. App.—
Beaumont 1986, aff'd in part, rev'd & remanded in part) (raceway admission contract governed by Texas law); App.
D-55: Broom v. Leebron & Robinson Rent-A-Car, Inc., 626 So.2d 1212, 1215 (La. Ct. App. 1993) (car rental
contract governed by Louisiana law).
103
    App. D-56: Austro v. Niagara Mohawk Power Corp., 487 N.E.2d 267, 267-68 (N.Y. 1985) (“The Appellate
Division, however, failed to distinguish between the exculpatory clauses involved in those cases, which typically
deprive a contracting party of the right to recover for damages suffered as the result of the exonerated party's
tortious act, and indemnity contracts that simply shift the source of compensation without restricting the injured
party's ability to recover. Indemnification agreements are unenforceable as violative of public policy only to the
extent that they purport to indemnify a party for damages flowing from the intentional causation of injury”); App. D-
57: First Jersey Nat’l Bank v. Dome Petroleum Ltd., 723 F.2d 335, 341-42 (3d Cir. 1983) (“The district court noted
the vital distinction between exculpation and indemnification and held that while public policy may preclude
contractual exculpation for reckless, willful, or grossly negligent conduct, it is not offended by indemnification
against such conduct.”); App. D-58: Dixon Distrib. Co. v. Hanover Ins. Co., 641 N.E.2d 395, 446 (Ill. 1994) (the
rule not allowing “a party from exempting oneself from tort liability for harm caused intentionally . . . does not
support a rule prohibiting an agreement by a third person to indemnify a party against liability in tort.” (citing
RESTATEMENT (SECOND) OF CONTRACTS § 195, Comment b; 6A A. CORBIN ON CONTRACTS §1472, at 146 (Supp.
1993); 15 S. WILLISTON, ON CONTRACTS § 1750A (3d ed. 1972)). See also App. D-52: Louisiana Civil Code art.
2004, Revision Comment (e) (“This Article does not govern “indemnity” clauses, “hold harmless” agreements, or
other agreements where parties allocate between themselves, the risk of potential liability towards third persons.”);
App. D-59: In re Horizon Vessels, Inc., 2005 U.S. Dist. LEXIS 42110, at *34 (S.D. Tex. Dec. 22, 2005) (indemnity
clause that specifically required indemnification for damages “caused or contributed to by negligence or other fault
(including sole, joint, concurrent or gross negligence)” imposed a duty on one contracting party to indemnify other
contracting party for tort liability to a third party notwithstanding allegation of reckless conduct).
104
    App. D-51: 8 R. LORD, WILLISTON ON CONTRACTS §19:20 (4th ed. May 2011) (emphasis added).
105
    App. D-62: Appellant’s Brief in Houston Exploration Co. v. Halliburton Energy Servs., Inc., 269 F.3d 528 (5th
Cir. 2001), 2000 WL 33988457, at *6. The Court of Appeals’ observation that:“[n]either party disputes that a party’s
gross negligence defeats its right to enforce an indemnity contract of this kind” (emphasis added) could thus refer to
the fact that indemnity for gross negligence was not expressed, or to the fact that the claim did not involve indemnity
to a third party. In holding the indemnity not enforceable, this Court cited Louisiana Civil Code art. 2004. As
previously noted, the Revision comment to that section states that article 2004 does not apply to a true indemnity
clause “where parties allocate between themselves the risk of potential liability towards third persons.” The Court
of Appeals also cited App. D-63: Sevarg Co. v. Energy Drilling Co., 591 So.2d 1278 (La. Ct. App. 1991), which
also involved an exemption of for damages suffered by the contracting party rather than indemnity for liability to a
third party.
106
    App. D-64: Orient Mut. Ins. Co. v. Adams, 123 U.S. 67, 72-73 (1887); App. D-65: N.Y., New Haven & Hartford
R.R. Co. v. Gray, 240 F.2d 460, 464 (2d Cir. 1957); App. D-66: Tropical Marine Prods., Inc. v. Birmingham Fire
Ins. Co., 247 F.2d 116, 122 (5th Cir. 1957), cert. denied, 355 U.S. 903 (1957); App. D-67: Allen N. Spooner & Son,
Inc. v. Conn. Fire Ins. Co., 314 F.2d 753, 756 (2d Cir. 1963), cert. denied, 375 U.S. 819 (1963).
107
    BP has designated these agreements as confidential. Accordingly, copies are attached hereto, but not publicly
provided. App. A-24: Settlement Agreement Between BP and MOEX, BP-HZN-2179MDL03198916–35, Articles
5.1 and 5.2(a)(vi), at BP-HZN-2179MDL03198922–23; App. A-25: Settlement Agreement Between BP and


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Weatherford, BP-HZN-2179MDL03241693–714, Articles 5.4(d) and 5.8, at BP-HZN-2179MDL03241700 and BP-
HZN-2179MDL03241704.
108
    BP designated this contract as confidential. Accordingly, a copy is attached hereto, but not provided publicly.
App. A-23: Drilling Rig Operation and Maintenance Services Contract between BP America Production Company
and                         Gulf of Mexico Deepwater Projects                       Contract No. BPA-02-06141, BP-
HZN-2179MDL03241488–554, Article 14.01.05, at BP-HZN-2179MDL03241508, and Amendment 14, BP-HZN-
2179MDL03241611–15, at BP-HZN-2179MDL03241612.
109
    This contract is confidential. Accordingly, a copy is attached hereto, but not provided publicly. App. A-14:
Contract No. PHPC-DC-09-0006 between Pharaonic Petroleum Company and Global Santa Fe Services (Egypt)
LLC (Transocean) for the Provision and Operation of Jack-Up Drilling Unit, Article 20.16. (Pharaonic Petroleum
Company is a BP joint venture.)
110
    BP designated this contract as confidential. Accordingly, a copy is attached hereto, but not provided publicly.
App. A-20: BP–                     Offshore Daywork Contract, BP-HZN-2179MDL02846809–48, Article 1012(c), at
BP-HZN-2179MDL02846828.
111
    This contract is confidential. Accordingly, a copy is attached hereto, but not provided publicly. App. A-11: BP
American Production Company Offshore Drilling / Workover / Completion Contract (with Transocean for the
Discoverer Enterprise), Article 12.8 and Amendment No. 13.
112
    See App. D-68: Griffin v. Tenneco Oil Co., 625 So.2d 1090, 1097 (La. Ct. App. 1993) (non-maritime case
seeking indemnification for costs of defense; reciprocal indemnity agreement “specifically includes claims based on
negligence or gross negligence”; “all forms of negligence are subject to indemnification”; “The all inclusive
language satisfies us of the parties intent to include every type of claim except a claim resulting from an employee's
intentional act.”), cited in App. D-69: In re Torch, Inc., 1996 WL 185765, at *9 (E.D. La. Apr. 16, 1996) (a
maritime case in which the district court considered a similar issue, but held that the indemnity contract did not
expressly refer to “gross negligence” unlike the contract in Griffin, and hence indemnity for gross negligence would
not be implied); App. D-70: In re TT Boat Corp., 1999 WL 1442054, at *6 (E.D. La. Sept. 8, 1999) (a maritime
case; “This Court has ruled that when an indemnity provision does not include coverage for gross negligence, such
silence dictates its exclusion. . . . In other words, the Court will not read ‘gross negligence’ into an indemnity
provision in which it is not specifically covered.”). See also App. D-71: Taylor v. Lloyd’s Underwriters of London,
972 F.2d 666, 668-69 (5th Cir. 1992) (no controlling maritime law rule as to whether indemnity for punitive
damages violates public policy, so issue should be resolved by applying state law); App. D-72: Randall v. Chevron
U.S.A., Inc., 13 F.3d 888, 910 (5th Cir. 1994) (allowing indemnity for punitive damages applying Louisiana law).
113
    App. D-42: BPXP’S Cross-Claim and Third Party Complaint against Transocean, Dkt. 2075, Claim 1, at 25-26.
114
    App. D-78: United States v. Ward, 448 U.S. 242, 249, 254 (1980).
115
    App. D-82: Oil Pollution Act of 1990, Pub. L. No. 101-380, 104 Stat. 484, tit. II §2002(a)(1990).
116
    App. D-12: Order and Reasons, Dkt. 3830, at 21 (emphases added).
117
    App. D-90: See T. SCHOENBAUM, ADMIRALTY & MARITIME LAW § 19-12 (4th ed.). The two major clubs provide
coverage for fines with respect to pollution. App. A-44: Standard Steamship Owners’ Protection & Indemnity
Assoc.        (Bermuda)         Rules        § 3.6.5      (2011-12),      available        at     http://www.standard-
club.com/docs/14812_BERMUDA_OFFSHORE.pdf (last visited Oct. 26, 2011); App. A-45: UK Club Protection
and     Indemnity          Rules,     Rule      2,    Section    22     E    (Feb.     20,    2010),     available  at
http://www.ukpandi.com/fileadmin/uploads/uk-
pi/Latest_Publications/2011_Correspondents/List%20of%20Correspondents%20Rules%20and%20ByeLaws%2020
11.pdf (last visited Oct. 26, 2011).
118
    See App. D-91: FED. R. CIV. P. ADMIRALTY SUPP. RULE E(5)(a). See, e.g., App. D-92: Nat’l Surety Corp. v.
United States, 1944 A.M.C. 1496, 1496 (5th Cir. 1944) (action on bond for clearance of vessel given pending
determination of liability for fine imposed under Immigration Act of 1924 because of the escape of alien seaman).




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